Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 1 of 27 PageID: 216




                EXHIBIT F
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 2 of 27 PageID: 217

                                                                                                    US010154987B2

  (12) United States Patent                                                  (10 ) Patent No.: US 10 ,154,987 B2
          Mosher et al.                                                      (45) Date of Patent:   * Dec. 18 , 2018
  (54 ) ENALAPRIL FORMULATIONS                                                  6 ,413,988 B1
                                                                                6 ,509 ,350 B2
                                                                                                      7 / 2002 De Proost
                                                                                                      1/ 2003 Vivilecchia et al.
  (71 ) Applicant: Silvergate Pharmaceuticals , Inc .,                          6 ,790 , 861 B2       9 /2004 Vivilecchia et al.
                                                                                6 , 869, 963 B2       3 /2005 Patel et al.
                    Greenwood Village, CO (US )                                 6 , 977, 257   B2    12/ 2005    Parab et al.
                                                                                7 , 101, 888   B2     9 /2006    Reo et al.
  (72 ) Inventors : Gerold L . Mosher, Kansas City, MO                          7 ,605, 148    B2    10 /2009    Batta et al.
                    (US); David W . Miles , Kansas City,                        8 , 153, 824   B2     4 /2012    Sesha
                            MO (US)                                             8 ,568 ,747    B1    10 /2013    Rajewski et al.
                                                                                8 ,778 , 366   B2     7 /2014    Rajewski et al.
                                                                                8 , 927,028    B2      1/ 2015   Grenier et al.
  (73 ) Assignee: Silvergate Pharmaceuticals , Inc.,                            9 ,463 , 183   B1    10 / 2016   Mosher et al.
                 Greenwood Village , CO (US)                                    9 ,616 ,096    B1     4 / 2017   Mosher et al.
                                                                                9 ,669 ,008 B16 / 2017 Mosher
  ( * ) Notice : Subject to any disclaimer, the term of this                    9 ,808 ,442 B2
                                                                                9 ,855 ,214 B2
                                                                                                     11/2017 Mosher
                                                                                                      1/2018 Rajewski
                 patent is extended or adjusted under 35                        9 , 968,553 B1        5 / 2018 Rajewski
                 U . S . C . 154(b ) by 0 days .                         2004/0171669          Al 9 /2004        Chenevier
                  This patent is subject to a terminal dis               2004 /0258757         Al 12 /2004       Bosch et al.
                                                                         2006 / 0094760        A1 5 / 2006       Fawzy et al.
                            claimer .                                    2006 /0121066         A16 / 2006        Jaeger et al.
                                                                         2007/0265344          Al    11/2007 Strobel et al.
  (21) Appl. No.: 16 /003,994                                            2008/0221156
                                                                         2008 /0234291
                                                                                               Al
                                                                                               A1
                                                                                                      9 /2008 Spireas
                                                                                                      9 / 2008 Francois et al.
  (22 ) Filed : Jun . 8 , 2018                                           2009/ 0269287
                                                                         2010 /0222334
                                                                                               Al
                                                                                               A
                                                                                                     10 /2009 Berta
                                                                                                      9 / 2010 Talamonti et al.
  (65 )                        Prior Publication Data                    2011 /0003798         A1      1/ 2011   Okram et al.
                                                                         2014 /0100260 A1             4 / 2014 Rajewski et al.
           US 2018 /0289669 A1              Oct. 11 , 2018               2015 /0148335         A1     5 / 2015   Bova et al.
                                                                         2015 /0258027         Al     9 / 2015   Rajewski
                                                                         2017 /0119840         A1     5 /2017    Mosher et al.
                Related U .S . Application Data                          2017 /0209523 A1             7 /2017 Mosher et al.
   (63) Continuation of application No. 15/802,341, filed on                                            (Continued )
        Nov. 2 , 2017, now Pat. No . 10,039 ,745 , which is a                           FOREIGN PATENT DOCUMENTS
        continuation of application No. 15 /613 ,622 , filed on
        Jun. 5 , 2017, now Pat. No. 9 ,808 ,442 , which is a            ??                      1275350 C  10 / 1990
        continuation of application No. 15 /081,603 , filed on          EP                      2903690 A1 8 / 2015
        Mar. 25, 2016 , now Pat. No . 9 ,669,008 .                                                      (Continued )
  (60 ) Provisional application No. 62/310 , 198 , filed on Mar.                                OTHER PUBLICATIONS
        18 , 2016 .
                                                                        AAPS American Association of Pharmaceutical Scientists, Prelimi
  (51) Int. Cl.                                                         nary Program , 2011 AAPS Annual Meeting and Exposition, Wash
            A61K 31/401                  (2006 .01)                     ington , D . C ., Oct. 23 -27 , 2011, 112 pages .
            A61K 9 /00                   ( 2006 .01)                    Ahlin et al. Investigation of polymeric nanoparticles as carriers of
            A61K 47 / 26                 ( 2006 .01)                    enalaprilat for oral administration . Int J Pharm 239 : 113 -120 (2002).
            A61K 47/ 12                  ( 2006 .01)                    Allen et al. Stability ofalprazolam , chloroquine phosphate, cisapride,
  (52 ) U .S. CI.                                                       enalapril maleate , and hydralazine hydrochloride in extemporane
           CPC .......... A61K 31/ 401 (2013 . 01) ; A61K 9 /0053       ously compounded oral liquids. Am J. Health -Syst Pharm 55 : 1915
                       (2013 .01); A61K 9 / 0095 ( 2013 .01); A61K      1920 , ( 1998) .
                            47 /12 (2013.01); A61K 47/ 26 ( 2013 .01)   Allen . Lisinopril 1 mg/mL oral liquid US Pharm ., 38 (2 ):36 -37
                                                                        ( 2013 ).
  (58 ) Field of Classification Search                                                                  (Continued )
        None
           See application file for complete search history .
                                                                        Primary Examiner — Jeffrey S Lundgren
  (56 )                    References Cited                             Assistant Examiner — Stephanie K Springer
                   U .S . PATENT DOCUMENTS                              (74 ) Attorney, Agent, or Firm — Wilson , Sonsini,
                                                                        Goodrich & Rosati
          4 , 374 , 829 A       2 / 1983 Harris et al.
          4 ,472, 380 A         9 / 1984 Harris et al.                  (57 )                  ABSTRACT
          4 ,510 ,083 A         4 / 1985 Blacklock et al.
          4 ,743 ,450 A
          4 ,793 ,998 A
                                5 / 1988 Harris et al.
                               12/ 1988 Murthy et al.                   Provided herein are stable enalapril oral liquid formulations .
          4 ,830 ,853 A        5 / 1989 Murthy et al.                   Also provided herein are methods of using enalapril oral
          4 , 931,430 A        6 / 1990 Sudilovsky et al.               liquid formulations for the treatment of certain diseases
          5 ,049, 553 A        9 / 1991 Sudilovsky                      including hypertension , heart failure and asymptomatic left
          5 ,698, 562 A        12/ 1997 Mendes et al .                  ventricular dysfunction .
          6 ,028 ,222 A          2/ 2000 Dietlin et al .
          6 , 300 ,361 B1      10 / 2001 Vivilecchia et al.
          6 , 300 ,362 B1      10 /2001 Vivilecchia et al.                                     30 Claims, 2 Drawing Sheets
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 3 of 27 PageID: 218


                                                                 US 10,Page
                                                                       154 ,2 987 B2
  ( 56 )                       References Cited                                  fileadmin / Public _ Web _ Site /ABOUT_ ICH /Organisation /GCC /
                                                                                 Topicsunder _ Harmonisation Stability.pdf> . p . 22 , 2 .9 . 3 ; p . 25 ,
                      U . S . PATENT DOCUMENTS                                   2 .9 .7 .
                                                                                 Handbook of Pharmaceutical Excipients , Fifth edition , edited by
    2017 /0266159 AL          9 /2017 Mosher et al.                              Raymond C . Rowe et al. London : Pharmaceutical Press, 2006 ,
    2018 /0055821 A1          3 / 2018 Mosher                                    (monographs for citric acid monohydrate , sodium benzoate , sodium
                                                                                 citrate, sodium hydroxide, and xylitol), 23 pages .
                  FOREIGN PATENT DOCUMENTS                                       Harris . Exploring Chemical Analysis, 4th edition . New York : W . H .
  WO               WO - 9814196   A1       4 / 1998                              Freeman and Company, (Chapters 8 , 9 , 21 and 22 ( 105 pages ))
  WO               WO - 9930690   AL       6 / 1999                              ( 2009 ) .
  WO               WO -0145667    A2       6 /2001                               Hensel et al. Transesterification reactions off parabens ( Alkyl
  WO              WO -02089775    Al      11/2002                                4 -Hydroxybenzoates ) with polyols in aqueous solution . J Pharm Sci
  WO         WO -2007070843 A2             6 /2007                               84 ( 1 ): 115 - 119 ( 1995 ) .
  WO         WO - 2009116078 A2            9 /2009                               Hsu et al. Enalapril in Infants With Single Ventricle: Results of a
  WO         WO -2011031462 A2             3 /2011                               Multicenter Randomized Trial. Circulation 122(4 ):333 - 340 (2010 ).
  WO         WO - 2011128783 A2           10 / 2011                              Hsu et al. Rationale and design of a trial of angiotensin -converting
  WO         WO - 2012085249 A2            6 / 2012
  WO         WO - 2014055667 Al            4 /2014                               enzyme inhibition in infants with single ventricle. American Heart
  WO         WO - 2014178065 AL           11/2014                                 Journal 157 ( 1 ) : 37 -45 (2009) .
  WO         WO -2017075368 AL             5 / 2017                              Kalaitzidis et al. Prehypertension : is it relevant for nephrologists ?
  WO         WO - 2017161339 AL            9 / 2017                              Kidney International 77 : 194 - 200 ( 2010 ) .
                                                                                 Li et al. Lessons learned from a pediatric clinical trial: The Pediatric
                    OTHER PUBLICATIONS                                           Heart Network Angiotensin -Converting Enzyme Inhibition in Mitral
                                                                                 Regurgitation Study .American Heart Journal 161(2 ):233-240 (2011 ).
  Al-Omari et al. Effect of the drug-matrix on the stability of enalapril        Liern et al. The additive antiproteinuric effect of Enalapril and
  maleate in tablet formulations Journal of Pharmaceutical and Bio               Losartan to normotensive patients with pathology proteinuria ,
                                                                                 Nefrologia : publicacion oficial de la Sociedad Espanola Nefrologia
  medical Analysis . 25 :893 -902 (2001).                                        24 (6 ):553 - 8 ( 2004) Database : MEDLINE (with English abstract) .
  Bhardwaj et al. Study of forced degradation behavior of enalapril              Lima et al. Stability and in vitro release profile of enalapril maleate
  maleate by LC and LC -MS and development of a validated stability              from different commercially available tablets: Possible therapeutic
  indicating assay method . J Pharm Biomed Anal 46 : 113 - 120 ( 2008 ).         implications. J Pharm Biomed Anal 47 : 934 -937 ( 2008 ).
  Blowey. Update on the pharmacologic treatment of hypertension in               Lipshultz , Exposure to anthracyclines during childhood causes
  pediatrics. J Clinical Hypertension 14 (6 ) :383 - 387 ( 2012) .               cardiac injury . Seminars in Oncology 33 (3 , Suppl. 8 ):S8 -S14 ( 2006 ).
  Boukarim et al. Preservatives in liquid pharmaceutical preparations .          Ma et al. HPLC and LC -MS studies of the transesterification
  The Journal of Applied Research 9 ( 1 & 2 ): 14 - 17 (2009).                   reaction of Methylparaben with twelve 3 - to 6 -carbon sugar alco
  Bourgault et al. Reference -based pricing of prescription drugs:               hols and propylene glycol and the isomerization of the reaction
  exploring the equivalence of angiotensin -converting - enzyme inhibi           products by acyl migration . J Chromatogr Sci 40 ( 3 ):170 - 177 ( 2002).
  tors . CMAJ 161:255 -60 ( 1999 ).                                              Meyers et al. Pharmacotherapy Review of Chronic Pediatric Hyper
  Brilla et al. Lisinopril-Mediated regression ofmyocardial fibrosis in          tension . Clinical Therapeutics 33 ( 10 ): 1331 - 1356 (2011 ).
  patients with hypertensive heart disease . Circulation , 102: 1388             Miller et al. Enalapril: a well -tolerated and efficacious agent for the
  1393 ( 2000 ).                                                                 paediatric hypertensive patient, Journal of hypertension . Supple
  Cabot Corporation , Influence of CAB - O - SIL® M - 5P on the Angle            ment : official journal of the International Society of Hypertension
  of Repose and Flow Rates of Pharmaceutical Powders, 10 pages                   4 (5 ): S413 -6 ( 1986 ).
  ( 2004 ).                                                                      Miller et al. Enalapril : a well -tolerated and efficacious agent for the
  Calabro et al. Hemodynamic effects ofa single oral dose of enalapril           pediatric hypertensive patient. J Cardiovasc Pharmacol 10
  among children with asymptomatic chronic mitral regurgitation .                Suppl: 78154 -6 ( 1987) .
                                                                                 Mir et al. Effect of carvedilol on QT duration in pediatric patients
  American Heart Journal 138 (5 , Pt. 1 ):955 - 961 ( 1999 ).                    with congestive heart failure. Clinical Drug Investigation 24 ( 1 ):9
  Definition of Hypertension (1 page ) retrieved from : http ://medical          15 (2004 ) .
  dictionary. thefreedictionary.com /hypertension . No date available .          Momma. ACE inhibitors in pediatric patients with heart failure.
  Delucchi et al. Enalapril and prednisone in children with nephrotic            Paediatr Drugs 8 ( 1):55-69 (2006 ).
  range proteinuria , Pediatric nephrology ( Berlin , Germany ) 14 (12 ): 1088   Nahata et al. Stability of enalapril maleate in three extemporane
  91 ( 2000 ) .                                                                  ously prepared oral liquids. Am . J. Health -Syst Pharm 55: 1155 - 1157
  Drug Information on Enalapril (3 pages ), 2001. retrieved from :               ( 1998 ).
  http ://www .accessdata.fda .gov/drugsatfda _ docs/nda/ 2001/ 18 -9988058 _    Nakamura et al. The kinetic profiles of enalapril and enalaprilat and
  Vasotec .cfm .                                                                 their possible developmental changes in pediatric patients with
  drugs .com . Enalapril Tablets Soluble. Website [online ]. [available          congestive heart failure , Clinical pharmacology and therapeutics
  online May 9 , 2010 ] [retrieved on Jan . 16 , 2014 ], 11 pages.               56 ( 2 ) : 160 - 8 ( 1994 ).
  Retrieved from the Internet< URL : https://web .archive. org /web /            National institutes ofHealth . ‘MedlinePlus: Hypertension '. Website
  20100509220009/http ://www .drugs.com /pro/ enalapril-tablets -soluble .       [online ]. [available online May 20 , 2012 ] [retrieved on Jan . 16 ,
  html> . Enalapril Tablets SolubleClinical Pharmacology ; Indica                2014 ], 5 pages. Retrieved from the Internet:< URL:https://web .
  tions and Usage for Enalapril Tablets Soluble; Enalapril Tablets               archive.org /web /20120520035026 /http ://www .nlm .nih .gov /medlineplus/
  Soluble Dosage and Administration .                                            ency / article /000468.htm > .
  Garrett . Prediction of stability of drugs and pharmaceutical prepa            Nationwide Children 's Hospital. “Enalapril Oral Suspension ’ Pub
  rations. Journal of Pharmaceutical Sciences 51 (9 ): 811 -833 ( 1962).         lication [online ].Mar. 29 , 2010 [retrieved on Jan . 14 , 2014 ], 1 page .
  Glass et al. Stability considerations in liquid dosage forms extem             Retrieved from the Internet:< URL : http ://www .nationwidechildrens .
  poraneously prepared from commercially available products. J                   org/Document/Get/78785> .
  Pharm Sci 9 ( 3 ): 398 -426 ( 2006 ).                                          Niazi. Handbook of Pharmaceutical Manufacturing Formulations:
  Gulf Cooperation Council. The GCC Guidelines for Stability Test                Liquid Products, vol. 3 , Second edition . New York : Informa Healthcare
  ing of Drug Substances and Pharmaceutical Products . Publication               USA , Inc., ( 2009) (400 pages ).
  [online ]. Edition Two, 1428 H - 2007 G available online Jul. 2011 ]           Nicolosi et al. The prognostic value of predischarge quantitative
  [retrieved on Feb . 3 , 2014 ]. Retrieved from the Internet: < URL:            two -dimensional echocardiographic measurements and the effects
  https://web .archive .org /web /20110726040053 /http ://www . ich .org         ofearly lisinopril treatment on left ventricular structure and function
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 4 of 27 PageID: 219


                                                              US 10 ,Page
                                                                      154,3987 B2

  ( 56 )                      References Cited                               Silber et al. Enalapril to prevent cardiac function decline in long
                                                                             term survivors of pediatric cancer exposed to anthracyclines , Jour
                        OTHER PUBLICATIONS                                   nal of Clinical Oncology 22 (5 ) :820 -828 ( 2004 ) .
                                                                             Simon?i? et al. Use of microcalorimetry in determination of stability
  after acute myocardial infarction in the GISSI-3 trial. European           of enalapril maleate and enalapril maleate table formulations. Intl J
  Heart Journal 17 : 1646 - 1656 ( 1996 ).                                   Pharmac 342 : 145 - 151 (2007 ) .
  Novartis AG (Appellants) v. Torrent Pharmaceuticals Limited ,              Sipahi et al. Effect of Antihypertensive Therapy on Incident Stroke
  Apotex Inc., Mylan Pharmaceuticals Inc., ( Appellees ), No . 2016          in Cohorts with Prehypertensive Blood Pressure Levels : A Meta
  1352, Slip Opinion decided Apr. 12 , 2017 ( 27 pages ).                    Analysis of Randomized Controlled Trials , Stroke: Journal of the
  Nunn et al. Formulation of medicines for children . Br J Clin              America ! Heart Association (online ], Dec . 8 , 2011 (retrieved Jan .
  Pharmacol 59 (6 ):674 -676 (2005 ) .                                       16 , 2014 ]. 10 pages. Retrieved from the Internet: <URL : http ://www .
  Packer et al. Comparative effects of low and high doses of the             medpagetoday . com / upload / 2011 / 12 / 9 / Stroke - 2011 -Sipahi
  angiotensin -converting enzyme inhibitor, lisinopril, on morbidity
  and mortality in chronic heart failure . Circulation 100 :2312 - 1218      STROKEAHA . 111 .636829.pdf> .
  ( 1999 ).                                                                  Sipahi et al. Effects of normal, pre -hypertensive , and hypertensive
  Patel et al. Extemporaneous Dosage Form for Oral Liquids .                 blood pressure levels on progression of coronary atherosclerosis . J
  Pharmacophore 2 ( 2 ): 86 - 103 (2011) .                                   Am Coll Cardiol 48: 833-838 ( 2006 ).
  PCT Patent Application No. PCT /US2013 /063096 International               Sosnowska et al. Stability of Extemporaneous Enalapril Maleate
  Preliminary Report on Patentability dated Apr. 7 , 2015 .                  Suspensions for Pediatric Use Prepared from Commercially Avail
  PCT Patent Application No. PCT /US2013 /063096 International               able Tablets . Acta Poloniae Pharmaceutica 66 ( 3 ):321-326 ( 2009) .
  Search Report dated Feb . 20 , 2014 .                                      Standing et al. Paediatric formulations -Getting to the heart of the
  PCT Patent Application No. PCT/US2013 /063096 Written Opinion              problem . International Journal of Pharmaceutics 300 ( 1 - 2 ):56 -66
  dated Feb . 20 , 2014 .                                                    ( 2005) .
  PCT Patent Application No. PCT/US2016 /059348 International                Stanisz . Evaluation of stability of enalapril maleate in solid phase.
  Search Report and Written Opinion dated Jan . 3 , 2017 .                   J Pharm Biomed Analysis 31 :375 - 380 (2003 ).
  PCT Patent Application No. PCT/US2017 /023074 International                Teva UK , Limited . Enalapril Maleate 2. 5 mg, 5 mg, 10 mg and 20
  Search Report and Written Opinion dated Jun . 16 , 2017 .                  mg Tablets. Product Brochure [online ].Mar. 2011 [retrieved on Jan .
  Product Information of Bicitra, Sodium Citrate and Citric Acid Oral        14 , 2014 ], 8 pages . Retrieved from the Internet:< URL:http ://www .
  Solution USP. 2 pages .                                                    drugs .com /uk / pdf/leaflet/213793 .pdf> . col. 2 , lines 70 -76 .
  Product Information of Ora - Sweet (1 page, 2013 ) retrieved from ,        Thompson et al. Characterization of an entemporaneous liquid
  http ://www . stobec.com / documents/ data /8196 .pdf.                     formulation of lisinopril . Am J Health Syst Pharm . 60 ( 1 ):69 - 74
  Proesmans et al. Enalapril in children with Alport syndrome,               ( 2003) .
  Pediatric nephrology (Berlin , Germany ) ( 2004 ), 19 ( 3 ), 271-5, Data    Tian et al. Effect of organic anion -transporting polypeptide 1B1
  base : MEDLINE .                                                           (OATP1B1) polymorphism on the single - and multiple - dose
  Proesmans et al. Long-term therapy with enalapril in patients with         pharmacokinetics of enalapril in healthy Chinese adult men . Clini
  nephrotic -range proteinuriam . Pediatric nephrology (Berlin , Ger         cal Therapeutics 33 (5 ):655 (2011 ).
  many ) 10 ( 5 ):587 - 9 ( 1996 ).                                          U . S . Appl. No. 13 /670 ,355 Office Action dated Feb . 8 , 2013 .
  Prosemans et al. Enalapril in pediatric patients with Alport syn           U . S . Appl. No. 13 /670 ,355 Office Action dated Jul. 30 , 2013 .
  drome: 2 years ' experience. European Journal of Pediatrics 159 (6 ):430   U . S . Appl. No. 13 /914 ,452 Office Action dated Aug. 28 , 2013 .
  433 (2000 ).                                                               U . S . Appl. No . 14 / 433 ,502 Office Action dated Dec . 29 , 2016 .
  Raia et al. Angiotensin -converting enzyme inhibitors: A Compara           U . S . Appl. No. 14 /433 ,502 Restriction Requirement dated Apr. 12 ,
  tive review . DPIC . The Annuals of Pharmacotherapy 24 :506 -525           2016 .
  ( 1990 ).                                                                  U . S . Appl. No. 14 /934 ,752 First Action Interview dated Jan . 25 ,
  Ramusovic et al. Determination of enalapril and enalaprilat in small       2016 .
  human serum quantities for pediatric trials by HPLC - tandem mass          U . S . Appl. No . 14 /934 , 752 Office Action dated Apr. 26 , 2016 .
  spectrometry. Biomedical Chromatography 26 (6 ):697 -702 (2012).           U .S . Appl. No. 15 /081,603 First Action Interview dated Sep . 2 ,
  Rezende et al. Stability and Compatibility Study on Enalapril              2016 .
  Maleate Using Thermoanalytical Techniques. Journal of Thermal              U . S . Appl. No. 15 /081,603 First Action Interview Office Action
  Analysis Calorimetry 93 ( 3 ): 881- 886 (2008 ).                           Summary dated Jan . 17 , 2017 .
  Rippley et al. Pharmacokinetic Assessment of an Oral Enalapril             U .S . Appl. No . 15 / 268, 095 Office Action dated Oct. 13 , 2016 .
  Suspension for Use in Children . Biopharmaceutics & Drug Dispo             U . S . Appl. No . 15 / 433 ,743 Office Action dated Jun . 5 , 2017 .
  sition 21: 339 - 344 ( 2000 ) .                                            U . S . Appl. No. 15 / 483 ,691 Office Action dated Jun . 8 , 2017 .
  Rokicki.Use of converting enzyme inhibitors in children . I.General        U . S . Appl. No. 15 /613 ,622 Office Action dated Aug. 11, 2017 .
  remarks , Wiadomosci lekarskie (Warsaw , Poland : 1960 ) 50 ( 1 -3 ) :28   U .S . Appl. No. 15 / 850 ,732 Office Action dated Mar. 1 , 2018 .
  31 ( 1997 ) ( with English abstract).                                      U .S . Appl. No. 15 / 802,341 Office Action dated Apr. 19 , 2018 .
  Rose et al. Stability of Lisinopril syrup (2 mg/mL ) extemporane           Van Hecken et al. Absence of a pharmacokinetic interaction between
  ously compounded from tablets . Int J Pharm Compd . 4 ( 5 ):398 - 399      enalapril and frusemide . Br J Clin Pharmacol 23 :84 - 87 ( 1987 ).
  (2000 ).                                                                   Vasotec (Enalapril Maleate ) Product Insert (2010 ) (5 pages ).
  Russell . Paediatric Drug Development: — Reformulation, In Vitro ,         Wang et al. Eudragit E Accelerated the Diketopiperazine Formation
  Genomic and In Vivo Evaluation . Thesis Apr. 2014 , 330 pages .            of Enalapril Maleate Determined by ThermalFTIR Microspectroscopic
  Sandoz Limited . Amoxicillin 125 mg/ 5 ml Powder for Oral Sus              Technique. Pharmaceutical Research 21( 11 ):2127 - 2732 (Nov . 2004 ).
  pension . Product brochure [online]. Jul. 2012 [retrieved on Jan . 17 ,    Webster et al. The Stability of Lisinopril as an extemporaneous
  2014 ]. 3 pages. Retrieved from the Internet < URL :http ://www . drugs.   syrup. Int J Pharm Compd . 1 (5 ):352- 353 (1997 ).
  com /uklpdf/leaflet/ 196044 .pdf> .                                        Wells et al. A double -blind, placebo - controlled , dose - response study
  Schlatter et al. Stability of Enalapril solutions prepared from tablets    of the effectiveness and safety of enalapril for children with hyper
  in sterile water. Australian J. Hospital Pharmacy 27 : 395 (1997 ).        tension . J Clin Pharmacol 42( 8 ):870 -880 ( 2002 ).
  Seikaly . Hypertension in children :an update on treatment strategies.     Wells et al. The Pharmacokinetics of Enalapril in Children and
  Current Opinion in Pediatrics 19 : 170 - 177 ( 2007).                      Infants with Hypertension . J. Clin Pharmacol 41: 1064 - 1074 (2001).
  Silber et al. Design and baseline characteristics for the ACE              Williams et al. Factors affecting growth in infants with single
  inhibitor after anthracycline (AAA) study of cardiac dysfunction in        ventricle physiology : a report from the Pediatric Heart Network
  long-term pediatric cancer survivors , American Heart Journal              Infant Single Ventricle Trial. The Journal of Pediatrics 159 (6 ): 1017
  142 ( 4 ):577 - 585 ( 2001) .                                              22.e2 (2011).
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 5 of 27 PageID: 220


  U . S . Patent                             Dec. 18, 2018                                         Sheet 1 of 2                                                            US 10 ,154 ,987 B2




                                                                                                 FIG . 1
         Enalapril diketopiperazine ; O Enalaprilat



                                                                                                               49   .   44   4   4444   .   LYSSNNYLYNY     WWW        .YYYYYYYYYYYYYYYYY




                        LLLLLLLLL   LLLLLLLLLLLL LLLLLLLLLLLLLLLLLLLLLLLLLLL LLLLLLLLLL   LLLLLLLLLLLL   LLLLLLLLLLLLLLLL                   LLLLLLLLLLLLLLLLLLLLL   LLLLLLLLLLLLLLLLLLLL LLLLLLLLLLLLLL   ULULLLLLLLL




         enaleaprtiel
         of
         /
         w
         m%

                                                                 3 .5                                                                                           4 .5
                                                                                                              PH
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 6 of 27 PageID: 221


  U . S . Patent               Dec. 18, 2018            Sheet 2 of 2                              US 10 ,154 ,987 B2




                                                        FIG . 2

         • Enalapril diketopiperazine ; O Enalaprilat




                                                                  LL LLLLLLLLL LLLLLLL




         enaleaprtiel
         of
         /
         w
         m%
                              @go
                                                              19419                             1219119219VI919114114212




                                        3 .5                  4                          4 .5                              .
                                                            Hd
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 7 of 27 PageID: 222


                                                         US 10 ,154,987 B2
               ENALAPRIL FORMULATIONS                                                                    -continued
                                                                                                   HO       20
             CROSS -REFERENCE OF RELATED
                     APPLICATIONS
      This application is a continuation of U .S . patent applica                                                                    OH
  tion Ser. No. 15 /802,341 , filed Nov . 2, 2017 , which is a                                            Enalaprilat
  continuation of U . S . patent application Ser. No . 15 /613 ,622 ,
  filed Jun . 5, 2017 (now U .S . Pat. No. 9, 808 ,442 , issued Nov. 10
  7 , 2017 ), which is a continuation of U .S . patent application              Enalapril is currently administered in the form of oral
  Ser. No . 15 / 081, 603 , filed Mar. 25 , 2016 (now U .S . Pat. No.        tablets, ( e . g ., Vasotec® ) or in the form of liquid formulations
  9 ,669,008, issued Jun . 06 , 2017 ) , which claims the benefit of         obtained by reconstitution of enalapril powder formulations .
  U .S . Provisional Patent Application No . 62/310 , 198 , filed            In addition to the treatment ofhypertension , enalapril tablets
  Mar. 18 , 2016 , all of which are incorporated herein by                   have been used for symptomatic congestive heart failure ,
  reference in their entirety.                                               and asymptomatic left ventricular dysfunction .
             BACKGROUND OF THE INVENTION                                                  SUMMARY OF THE INVENTION
                                                                        20

    Hypertension , or high blood pressure , is a serious health                 Provided herein are enalapril oral liquid formulations. In
  issue in many countries. According to the National Heart                   one aspect, the enalapril oral liquid formulation , comprises
  Blood and Lung Institute , it is thought that about 1 in 3                 (i) enalapril or a pharmaceutically acceptable salt or solvate
  adults in the United States alone have hypertension . Left   thereof, (ii) a sweetener that is sucralose (iii) a buffer
  unchecked . hypertension is considered a substantial risk 25 comprising citric acid ; (iv ) a preservative that is sodium
  factor for cardiovascular and other diseases including coro                benzoate ; and (v ) water ; wherein the pH of the formulation
  nary heart disease , myocardial infarction , congestive heart              is less than about 3 .5 ; and wherein the formulation is stable
  failure , stroke and kidney failure . Hypertension is classified           at about 5 : 3° C . for at least 12 months .
  as primary (essential) hypertension or secondary hyperten -     In some embodiments, the enalapril is enalapril maleate.
  sion . Primary hypertension has no known cause and may be 30 In some embodiments , the formulation further comprises a
  related to a number of environmental, lifestyle and genetic flavoring agent. In some embodiments , the buffer in the
  factors such as stress, obesity , smoking, inactivity and formulation further comprises sodium citrate dihydrate . In
  sodium intake . Secondary hypertension can be caused by                    some embodiments , the amount of enalapril or a pharma
  drug or surgical interventions, or by abnormalities in the                 ceutically acceptable salt or solvate thereof is about 0 .6 to
  renal, cardiovascular or endocrine system .                           35 about 1 .2 mg/ml. In some embodiments , the amount of
     A number of antihypertensive drugs are available for                    sucralose is about 0 .5 to about 0 .9 In some embodiments, the
  treating hypertension . Various therapeutic classes of antihy    amount of citric acid in the buffer is about 0 . 8 to about 3 .5
  pertensive drugs include alpha -adrenergic blockers, beta        mg/ml. In some embodiments , the amount of sodium citrate
  adrenergic blockers, calcium -channel blockers , hypoten - so dihydrate in the buffer is about 0 .1 to about 0 .80 mg/ml. In
  sives , mineralcorticoid antagonists , central alpha - agonists, some embodiments , the amount of the sodium benzoate is
  diuretics and rennin -angiotensin - aldosterone inhibitors       about 0 . 2 to about 1 . 2 ing/ml. In some embodiments , the
  which include angiotensin II receptor antagonists (ARB ) and               amount of enalapril or a pharmaceutically acceptable salt or
  angiotensin -converting enzyme (ACE ) inhibitors . Angio         solvate thereof is about 10 to about 25 % (w /w of solids). In
  tensin -converting enzyme (ACE ) inhibitors   inhibit angio
  tensin -converting enzyme ( ACE ), a peptydyl dipeptidase some
                                           tors inhibit angio - 45         embodiments , the amount of sucralose is about 8 to
  that catalyzes angiotension Ito angiotension II, a potent amount18of% citric
                                                                   about         ( w /w of solids ). In some embodiments, the
                                                                                       acid in the buffer is about 17 to about 47 %
  vasoconstrictor involved in regulating blood pressure .          ( w / w of solids ). In some embodiments , the amount of
     Enalapril is a prodrug belonging to the angiotensin        sodium citrate dihydrate in the buffer is about 1 to about 11 %
  converting enzyme (ACE ) inhibitor of medications. It is 50 (w / w of solids ). In some embodiments , the amount of
  rapidly hydrolyzed in the liver to enalaprilat following oral sodium benzoate is about 12 to about 25 % (w / w N of solids ).
  administration . Enalaprilat acts as a potent inhibitor of ACE .           In some embodiments , the pH of the formulation is between
   The structural formulae of enalapril and enalaprilat are as               about 3 and about 3 .5 . In some embodiments , the pH of the
  follows:                                                                   formulation is about 3 . 3 . In some embodiments , the citrate
                                                                        55 concentration in the buffer is about 5 mM to about 20 mM .
                                                                             In some embodiments, the citrate concentration in the buffer
                                                                             is about 10 mM . In some embodiments , the formulation is
                                                                             stable at about 5 + 3° C . for at least 18 months. In some
                                                                             embodiments , the formulation is stable at about 5 + 3° C . for
                                                                        60 at least 24 months. In some embodiments , the formulation
                                                                             does not contain mannitol. In some embodiments, the for
                                                                             mulation does not contain silicon dioxide .
                                   N                                            In one aspect, the enalapril oral liquid formulation , com
                                                 HO
                                                                           prises (i) about 1 mg/ml enalapril maleate ; ( ii) about 0 .70
                                                                        65 mg/ml of a sweetener that is sucralose ; (iii) a buffer com
                               Enalapril                                   prising about 1.82 mg/ml citric acid ; (iv ) about 1 mg/ml of
                                                                             a preservative that is sodium benzoate ; and (v ) water ;
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 8 of 27 PageID: 223


                                                          US 10 ,154 ,987 B2
  wherein the pH of the formulation is less than about 3 .5 ; and         adult. In some embodiments , the subject is elderly . In some
  wherein the formulation is stable at about 5 + 3° C . for at least      embodiments , the subject is a child . In some embodiments,
  12 months.                                                              the formulation is administered to the subject in a fasted
     In some embodiments , the formulation further comprises     state . In some embodiments, the formulation is administered
  a flavoring agent. In some embodiments, the buffer further 5 to the subject in a fed state . In some embodiments, the
  comprises about 0 . 15 mg/mL sodium citrate dihydrate . In     formulation is further administered in combination with an
  some embodiments , the pH of the formulation is between agent selected from the group consisting of diuretics , beta
  about 3 and about 3 . 5 . In some embodiments, the pH of the blockers , alpha blockers , mixed alpha and beta blockers .
  formulation is about 3 . 3 . In some embodiments , the citrate calcium channel blockers , angiotensin II receptor antago
  concentration in the buffer is about 5 mM to about 20 mM . 10 nists , ACE inhibitors , aldosterone antagonists, and alpha - 2
  In some embodiments, the citrate concentration in the buffer agonists.
  is about 10 mM . In some embodiments, the formulation is                   Also provided herein are methods of treating prehyper
  stable at about 5 + 3° C . for at least 18 months. In some              tension in a subject comprising administering to that subject
  embodiments , the formulation is stable at about 5 + 3° C . for         a therapeutically effective amount of enalapril oral liquid
  at least 24 months . In some embodiments, the formulation 15 formulation comprising (i) about 1 mg/ml enalapril maleate ;
  does not contain mannitol. In some embodiments, the for                 ( ii ) about 0 . 7 mg/mlof a sweetener that is sucralose ; (ii ) a
  mulation does not contain silicon dioxide .                             buffer comprising about 1. 82 mg/ml citric acid and about
     In one aspect, the enalapril oral liquid formulation com 0 . 15 mg/ml sodium citrate dihydrate ; ( iv ) about 1 mg/ml of
  prises (i ) about 19 . 3 % ( w / w of solids) enalapril maleate ; (ii) a preservative that is sodium benzoate; and (v ) water;
  about 13 . 5 % ( w / w of solids) of a sweetener that is sucralose ; 20 wherein the pH of the formulation is less than about 3 . 5 ; and
  ( iii) a buffer comprising about 35 . 2 % ( w /w of solids ) citric     wherein the formulation is stable at about 5 + 3° C . for at least
  acid ; ( iv ) about 19 .3 % ( w /w of solids ) of a preservative that    12 . months. In some embodiments, the formulation does not
  is sodium benzoate; and (v ) water; wherein the pH of the               contain mannitol. In some embodiments, the formulation
  formulation is less than about 3 .5 ; and wherein the formu- does not contain silicon dioxide .
  lation is stable at about 5 + 3° C . for at least 12 months. 25 In some embodiments, the subject has blood pressure
     In some embodiments, the formulation further comprises      values of about 120 - 139/ 80 - 89 mm Hg.
  a flavoring agent. In some embodiments , the buffer further                Also provided herein are methods of treating heart failure
  comprises about 2 . 9 % ( w / w of solids) sodium citrate dihy - in a subject comprising administering to that subject a
  drate . In some embodiments , the pH of the formulation is       therapeutically effective amount of enalapril oral liquid
  between about 3 and about 3 .5 . In some embodiments , the 30 formulation comprising (i ) about 1 mg/ml enalapril maleate ;
  pH of the formulation is about 3. 3 . In some embodiments ,             ( ii ) about 0 .70 mg/ml of a sweetener that is sucralose ; ( iii )
  the citrate concentration in the buffer is about 5 mM to about          a buffer comprising about 1.82 mg/ml citric acid and about
  20 mM . In some embodiments , the citrate concentration in           0 . 15 mg/ml sodium citrate dihydrate ; (iv ) about 1 mg/ml of
  the buffer is about 10 inM . In some embodiments, the                a preservative that is sodium benzoate ; and ( v ) water ;
  formulation is stable at about 5 - 3° C . for at least 18 months. 35 wherein the pH of the foi ululation is less than about 3 .5 ; and
  In some embodiments , the formulation is stable at about                wherein the formulation is stable at about 5 + 3° C . for at least
   5 + 3° C . for at least 24 months . In some embodiments, the           12 months . In some embodiments , the formulation does not
   formulation does not contain mannitol. In some embodi                  contain mannitol. some embodiments , the formulation does
  ments, the formulation does not contain silicon dioxide.                not contain silicon dioxide.
      In one aspect, the enalapril oral liquid formulation con- 40 Also provided herein are methods of treating left ven
  sists essentially of (i) about 1 mg/ml enalapril maleate ; (ii) tricular dysfunction in a subject comprising administering to
  about 0 .70 mg/ml of a sweetener that is sucralose; ( iii) a that subject a therapeutically effective amount of enalapril
  buffer comprising about 1 . 82 mg/ml citric acid and about           oral liquid formulation comprising (i) about 1 mg/ml enal
  0 . 15 mg/ml sodium citrate dihydrate ; ( iv ) about 1 mg/ml of      april maleate ; (ii) about 0 .7 mg/ml of a sweetener that is
  a preservative that is sodium benzoate ; ( V ) a flavoring agent; 45 sucralose ; a buffer comprising about 1.82 mg/ml citric acid
  and ( vi) water; wherein the pH of the formulation is less than      and about 0 . 15 mg/ml sodium citrate dihydrate ; (iv ) about 1
  about 3 .5 adjusted by sodium hydroxide or hydrochloric mg/ml of a preservative that is sodium benzoate ; and ( v )
  acid ; and wherein the formulation is stable at about 5 + 3° C . water ; wherein the pH of the formulation is less than about
  for at least 12 months.                                              3 .5 ; and wherein the formulation is stable at about 5 + 3° C .
     Also provided herein aremethods of treating hypertension 50 for at least 12 months . In some embodiments , the formula
  in a subject comprising administering to that subject a                 tion does not contain mannitol. In some embodiments , the
  therapeutically effective amount of enalapril oral liquid               formulation does not contain silicon dioxide.
  formulation comprising (i) about enalapril maleate; ( ii )
  about 0 .7 mg/ml sucralose; ( iii ) a buffer comprising about                      INCORPORATION BY REFERENCE
  1.82 mg/ml citric acid and about 0 . 15 mg/ml sodium citrate 55
  dihydrate , (iv ) about 1 mg/ml of a preservative that is                  All publications , patents , and patent applications men
  sodium benzoate ; and (v ) water ; wherein the pH of the                tioned in this specification are herein incorporated by ref
  formulation is less than about 3 .5 ; and wherein the formu-            erence to the same extent as if each individual publication ,
  lation is stable at about 5 - 3° C . for at least 12 months. In         patent, or patent application was specifically and individu
  some embodiments, the formulation does not contain man - 60 ally indicated to be incorporated by reference .
  nitol. In some embodiments , the formulation does not con
  tain silicon dioxide .                                                        BRIEF DESCRIPTION OF THE DRAWINGS
     In some embodiments, the hypertension is primary (eses
  sential) hypertension . In some embodiments, the hyperten -                The novel features of the invention are set forth with
  sion is secondary hypertension . In some embodiments , the 65 particularity in the appended claims. A better understanding
  subject has blood pressure values greater than or equal to    of the features and advantages of the present invention will
  140 / 90 mmm Hg. In some embodiments, the subject is an                 be obtained by reference to the following detailed descrip
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 9 of 27 PageID: 224


                                                      US 10 , 154 ,987 B2
  tion that sets forth illustrative embodiments, in which the         ment of hypertension and other disorders. In particular, the
  principles of the invention are utilized , and the accompany         embodiments provide stable enalapril oral liquid formula
  ing drawings of which :                                              tions as well as alternatively enalapril powder formulations
     FIG . 1 : Effect ofpH on degradant formation after 8 weeks        for oral liquid administration .
  of storage of various enalapril solution formulations at 5° C . 5      As used herein , “ enalapril” refers to enalapril base , its
     FIG . 2 : Effect of pH on degradant formation after 8 weeks       salt, or solvate or derivative or isomer or polymorph thereof .
  of storage of various enalapril solution formulations at room        Suitable compounds include the free base , the organic and
  temperature (19 -22° C .).                                           inorganic salts , isomers , isomer salts , solvates , polymorphs,
                                                                       complexes etc . U . S . Pat. Nos. 4 , 374 , 829; 4 ,472, 380 and
               DETAILED DESCRIPTION OF THE                    10 4 ,510 ,083 disclose exemplary methods in the preparation of
                          INVENTION                              enalapril. In some embodiments , the enalapril used in the
                                                                 formulations described herein is an enalapril salt . In some
    Provided herein are stable enalapril oral liquid formula - instances , the enalapril salt is enalapril maleate . In other
  tions. Also provided herein are stable enalapril powder         instances , the enalapril salt is in the form of enalapril
  formulations for reconstitution for oral liquid administra - 15 sodium .
  tion . These enalapril formulations described herein are use            Other ACE inhibitors are contemplated in the formula
  ful for the treatment of hypertension , prehypertension , heart      tions within and include but are not limited to quinapril,
  failure as well as ventricular dysfunction . The formulations        indolapril , ramipril , perindopril , lisinopril, benazepril , imi
  are advantageous over conventional solid dosage adminis -            dapril, zofenopril, trandolapril, fosinopril, captopril, and
  tration of enalapril ranging from ease of administration , 20 their salts, solvates , derivatives, polymorphs, or complexes,
  accuracy of dosing, accessibility to additional patient popu -       thereof.
  lations such as to children and the elderly, and an increased        Enalapril Oral Liquid Formulations
  patient compliance to medication .                                     Oral liquids include, but are not limited to , solutions (both
     It is generally known that certain segments of the popu - aqueous and nonaqueous), suspensions, emulsions, syrups,
  lation have difficulty ingesting and swallowing solid oral 25 slurries, juices, elixirs, dispersions , and the like . It is envi
  dosage forms such as tablets and capsules. As many as a            sioned that solution / suspensions are also included where
  quarter of the total population has this difficulty . Often , this certain components described herein are in a solution while
  leads to non - compliance with the recommended medical             other components are in a suspension .
  therapy with the solid dosage forms, thereby resulting in             In one aspect, the enalapril liquid formulations described
  rending the therapy ineffective . Further, solid dosage forms 30 herein comprise enalapril, a preservative , a sweetening
  are not recommended for children or elderly due to                 agent, a buffer, and water. In one embodiment, the sweet
  increased risk in choking .                                          ening agent is sucralose . In one embodiment, the sweetening
     Furthermore , the dose of enalapril to be given to children       agent is xylitol. In one embodiment, the sweetening agent is
  is calculated according to the child 's weight. When the             not mannitol. In another embodiment, the preservative is
  calculated dose is something other than the amount present 35 sodium benzoate . In some embodiments , the preservative is
  in one or more intact solid dosage forms, the solid dosage           a paraben . In some embodiments , the preservative is a
  form must be divided to provide the correct dose. This leads         mixture of parabens. In yet another embodiment, the buffer
  to inaccurate dosing when solid dosages forms, such as               comprises citric acid . In some embodiments , the buffer
  tablets , are compounded to prepare other formulations for           further comprises sodium citrate . In one aspect, the enalapril
  children .                                                        40 liquid formulation described herein comprises enalapril,
     For enalapril, one solution to overcoming the use of the          sucralose, sodium benzoate , citric acid , sodium citrate , and
  tablet form is for a compounding pharmacist to pulverize             water. In some embodiments , the enalapril liquid formula
  and crush the enalapril tablet(s ) into a powder via mortar and      tion herein further comprises a flavoring agent . In some
  pestle and reconstitute the powder in some liquid form .             embodiments , the enalapril liquid formulation is not
  However forming a enalapril oral liquid in this fashion has 45 obtained from crushing enalapril tablet and dissolving the
  significant drawbacks including large variability in the       powder in a suitable vehicle for oral administration . In some
  actual dosage , incomplete solubilizing of the enalapril tablet      embodiments, the enalapril liquid formulation does not
  in the liquid , rapid instability , inconsistent formulation         contain silicon dioxide . In some embodiments , the enalapril
  methods per compounding pharmacy , and a number of other             liquid formulation does not contain mannitol. In some
  potential issues. The crushed tablet liquid formulation may 50 embodiments , the enalapril liquid formulation does not
  also be potentially unsafe due to contamination with residual        contain lactose . In some embodiments , the enalapril liquid
  drugs and other substances from the mortar and pestle or             formulation does not contain magnesium stearate . In some
  other crushing agent.                                                embodiments , the enalapril liquid formulation does not
     Alternatively, enalapril is formulated as enalapril powder        contain sodium bicarbonate . In some embodiments , the
  compositions for reconstitution as oral liquids as described 55 enalapril liquid formulation does not contain iron oxides .
  in U .S . Pat. No. 8 , 568 ,747 . The powder compositions as           In some embodiments , enalapril or a pharmaceutically
  described in this patent require mannitol and colloidal              acceptable salt thereof, is present in about 0 .6 to about 1 .2
  silicon dioxide for stability and dissolution . While these          mg/ml in the oral liquid formulation . In other embodiments,
  powder compositions are an improvement over crushing                 enalapril or a pharmaceutically acceptable salt thereof, is
  tablets , they still require a step of mixing with a diluent. The 60 present in about 0 . 6 mg/ml, about 0 .61 mg/ml, about 0 .62
  stable enalapril oral liquid formulations described herein          mg/ml, about 0 .63 mg/ml, about 0 .64 mg/ml, about 0 .65
  require no extra steps or manipulation prior to administra -        mg/ml, about 0 .66 mg/ml, about 0 .67 mg/ml, about 0 .68
  tion to a subject. Further, the stable enalapril oral liquid        mg/ml, about 0 .69 mg/ml, about 0 .7 mg/ml, about 0 .71
  formulations described herein do not require or need man -          mg/ml, about 0 .72 mg/ml, about 0 . 73 mg/ml, about 0 . 74
  nitol or colloidal silicon dioxide for stability and dissolution . 65 mg/ml, about 0 .75 mg/ml, about 0 .76 mg/ml, about 0 . 77
     The present embodiments described herein provide a safe          mg/ml, about 0 .78 mg/ml, about 0 .79 mg/ml, about 0 . 8
  and effective oral administration of enalapril for the treat-        mg/ml, about 0 .81 mg/ml, about 0 .82 mg/ml, about 0 . 83
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 10 of 27 PageID: 225


                                                               US 10, 154 , 987 B2
  mg/ml, about 0 . 84 mg/ml, about 0 .85 mg/ml, about 0 . 86                 ments , enalapril is present in about 10 .5 % w /w of the solids
  mg/ml, about 0 .87 mg/ml, about 0 . 88 mg/ml, about 0 . 89                 in the oral liquid formulation . In some embodiments , enal
  mg/ml, about 0 .9 mg/ml, about 0 . 91 mg/ml, about 0 . 92                  april is present in about 15 % w /w of the solids in the oral
  mg/ml, about 0 .93 mg/ml, about 0 . 94 mg/ml, about 0 . 95   liquid formulation . In some embodiments, enalapril is pres
  mg/ml, about 0 .96 mg/ml, about 0 . 97 mg/ml, about 0 . 98 5 ent in about 18 . 2 % w / w of the solids in the oral liquid
  mg/ml, about 0 . 99mg/ml, about 1 mg/ml, about 1 .01 mg/ml,  formulation . In some embodiments , enalapril maleate is
  about 1 .02, mg/ml, about 1 .03 mg/ml, about 1 .04 mg/ml,                  present in about 13 .5 % w /w of the solids in the oral liquid
  about 1.05 mg/ml, about 1 .06 mg/ml, about 1 .07 mg/ml,                    formulation . In some embodiments , enalapril maleate is
   about 1 .08 mg/ml, about 1. 09 mg/ml, about 1. 1 mg/ml,                   present in about 19 . 3 % w /w of the solids in the oral liquid
  about 1. 11 mg/ml, about 1 . 12 , mg/ml, about 1 .13 mg/ml, 10 formulation . In some embodiments , enalapril maleate is
  about 1. 14 mg/ml, about 1 . 15 mg/ml, about 1 . 16 mg/ml,                 present in about 24 .5 % w /w of the solids in the oral liquid
  about 1 . 17 mg/ml, about 1 . 18 mg/ml, about 1. 19 mg/ml, or              formulation .
  about 1. 2 mg/ml in the liquid oral formulation . In some                     In some embodiments , enalapril or a pharmaceutically
  embodiments, enalapril is present in about 0 . 76 mg/ml in the             acceptable salt thereof , is present in about 0 .1 % w / w to
  oral liquid formulation. In some embodiments, enalapril 15 about 1 % w /w of the solids in the oral liquid formulation . In
  maleate is present in about 1 mg/ml in the oral liquid                     other embodiments , enalapril or a pharmaceutically accept
  formulation . In some embodiments , the formulation con -                  able salt thereof, is present in about 0 . 1 % w / w , about 0 . 15 %
  tains enalapril or another pharmaceutically acceptable salt of             w /w , about 0 . 2 % w / w , about 0 .25 % w / w , about 0 .3 % w / w ,
  enalapril in a molar concentration equivalent to 1 mg/mLe -                about 0 .35 % w / w , about 0 .4 % w / w , about 0 .45 % w /w , about
  nalapril maleate . In some embodiments , the formulation 20 0.5 % w /w , about 0 .55 % w /w , about 0 .6 % w /w , about 0 .65 %
  contains enalapril or another pharmaceutically acceptable                  w /w , about 0 .7 % w / w , about 0 .75 % w / w , about 0 .8 % w / w ,
  salt of enalapril in a molar concentration equivalent to 0 .76             about 0 . 85 % w /w , about 0 . 9 % w / w , about 0 . 95 % w /w , or
  mg/mL enalapril.                                                           about 1 % w / w of the solids in the oral liquid formulation . In
     In some embodiments , enalapril or a pharmaceutically                   some embodiments , enalapril or a pharmaceutically accept
  acceptable salt thereof, is present in about 0 . 5 w /w to about 25        able salt thereof, is present in about 0 . 4 % w /w to about 0 .7 %
  30 % w /w of the solids in the oral liquid formulation . In other          w /w of the solids in the oral liquid formulation . In some
  embodiments, enalapril or a pharmaceutically acceptable                    embodiments, enalapril is present in about 0 .4 % w /w of the
  salt thereof, is present in about 0 .5 % w /w , about 1 % w / w ,          solids in the oral liquid formulation . In some embodiments,
  about 1 .5 % w / w , about 2 % w /w , about 2 .5 % w / w , about 3 %       enalapril is present in about 0 . 5 % w /w of the solids in the
   w / w , about 3 .5 % w / w , about 4 % w / w , about 4 .5 % w / w , 30 oral liquid formulation . In some embodiments, enalapril
  about 5 % w / w , about 5 .5 % w / w , about 6 % w / w , about 6 . 5 %     maleate is present in about 0 .5 % w / w of the solids in the oral
   w / w , about 7 % w / w , about 7 . 5 % w / w , about 8 % w /w , about    liquid formulation . In some embodiments , enalapril maleate
   8 .5 % w / w , about 9 % w / w , about 9 . 5 % w / w , about 10 % w / w   is present in about 0 .6 % w / w of the solids in the oral liquid
  about 10 . 5 % w /w , about 11 % w /w , about 11 . 5 % w / w , about       formulation .
   12 % w / w , about 12 . 5 % w / w , about 13 % w / w , about 13 . 5 % 35 Sweetener in the Enalapril Oral Liquid Formulations
   w / w , about 14 % w / w , about 14 .5 % w /w , about 15 % w /w ,           Sweeteners or sweetening agents include any compounds
  about 15 . 1 % w / w , about 15 . 2 % w / w , about 15 . 3 % w / w         that provide a sweet taste . This includes natural and syn
   about 15 .4 % w /w , about 15 .5 % w /w , about 15 .6 % w /w ,            thetic sugars , natural and artificial sweeteners , natural
  about 15 . 7 % w / w , about 15 . 8 % w / w , about 15 . 9 % w / w ,      extracts and any material that initiates a sweet sensation in
  about 16 % w / w , about 16 . 1 % w / w , about 16 . 2 % w / w , about 40 a subject. In some embodiments , a solid /powder sweetener
   16 .3 % w /w , about 16 .4 % w /w , about 16 . 5 % w /w , about           is used in the oral liquid formulation described herein . In
   16 .6 % w /w , about 16 .7 % w /w , about 16 .8 % w / w , about           other embodiments, a liquid sweetener is used in the oral
   16 . 9 % w /w , about 17 % w /w , about 17 . 1 % w /w , about 17 .2 %     liquid formulation described herein .
   w / w , about 17 . 3 % w /w , about 17 .4 % w / w , about 17 . 5 % w /w ,    Sugars illustratively include glucose , fructose, sucrose ,
   about 17 .6 % w /w , about 17 .7 % w /w , about 17 .8 % w /w , 45 xylitol, tagatose , sucralose ,maltitol, isomaltulose , IsomaltTM
   about 17 . 9 % w /w , about 18 % w / w , about 18 . 1 % w / w , about (hydrogenated isomaltulose ), lactitol, sorbitol, erythritol,
   18 .2 % w /w , about 18 . 3 % w /w , about 18 . 4 % w /w , about trehalose , maltodextrin , polydextrose , and the like . Other
  18. 5 % w / w , about 18 .6 % w / w , about 18 . 7 % w / w , about         sweeteners illustratively include glycerin , inulin , erythritol,
  18 .8 % w / w , about 18 . 9 % w /w , about 19 % w / w , about 19 . 1 %     maltol, acesulfame and salts thereof, e . g ., acesulfame potas
  w / w , about 19 . 2 % w /w , about 19 .3 % w / w , about 19. 4 % w /w , 50 sium , alitame, aspartame, neotame, sodium cyclamate , sac
  about 19 .5 % w /w , about 19 .6 % w /w , about 19 .7 % w /w ,               charin and salts thereof, e . g ., saccharin sodium or saccharin
  about 19 .8 % w /w , about 19 . 9 % w /w , about 20 % w /w , about calcium , neohesperidin dihydrochalcone , stevioside , thau
  20 . 1 % w /w , about 20 .2 % w /w , about 20 . 3 % w /w , about matin , and the like. Sweeteners can be used in the form of
   20 . 4 % w / w , about 20 . 5 % w / w , about 20 .6 % w / w , about       crude or refined products such as hydrogenated starch
   20 . 7 % w /w , about 20 .8 % w /w , about 20 . 9 % w / w , about 21 % 55 hydrolysates, maltitol syrup , high fructose corn syrup , etc .,
   w / w , about 21. 1 % w /w , about 21. 2 % w /w , about 21. 3 % w /w , and as branded products , e.g ., Sweet AmTM liquid (Product
  about 21.4 % w /w , about 21. 5 % w /w , about 21.6 % w /w ,               Code 918 . 003 -propylene glycol, ethyl alcohol, and propri
  about 21.7 % w / w , about 21. 8 % w /w , about 21 . 9 % w / w ,           etary artificial flavor combination , Flavors of North
  about 22 % w / w , about 22 .5 % w / w , about 23 % w / w , about          America      and Sweet AmTM powder (Product Code
  23 .5 w /w , about 24 % w /w , about 24 .5 % w / w , about 25 % 60 918 . 005 — maltodextrin , sorbitol, and fructose combination
  w /w , about 25 .5 % w /w , about 26 % w /w , about 26 .5 % w /w ,         and Product Code 918 .010water, propylene glycol, sor
   about 27 % w / w , about 27 . 5 % w / w , about 28 % w /w , about         bitol, fructose , and proprietary natural and artificial flavor
   28 . 5 % w /w , about 29 % w /w , about 29 .5 % w /w , or about combination , Flavors of North America ), ProSweetim
   30 % w /w of the solids in the oral liquid formulation . In some (1 - 10 % proprietary plant/vegetable extract and 90 - 99 % dex
   embodiments, enalapril or a pharmaceutically acceptable 65 trose combination , Viriginia Dare ), MaltisweetTM (maltitol
   salt thereof, is present in about 10 % w / w to about 25 % w /w  solution , Ingredion ), SorboTM (sorbitol and sorbitol/xylitol
   of the solids in the oral liquid formulation . In some embodi- solution , SPI Polyols), InvertoseTM (high fructose corn
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 11 of 27 PageID: 226


                                                            US 10 ,154 ,987 B2
                                                                                                               10
   syrup , Ingredion ), Rebalance M60 and X60 (sucralose and                mg/ml, about 160 mg/ml, about 165 mg/ml, about 170
  maltodextrin , Tate and Lyle ), and Ora - Sweet® sugar - free             mg/ml, about 175 mg/ml, about 180 mg/ml, about 185
   flavored syrup (Paddock Laboratories, Inc.). Sweeteners can              mg/ml, about 190 mg/ml, about 195 mg/ml, about 200
  be used singly or in combinations of two or more . Suitable               mg/ml, about 205 mg/ml, or about 210 mg/ml of the oral
   concentrations of different sweeteners can be selected based 5 liquid formulation . In some embodiments , xylitol is present
  on published information ,manufacturers ' data sheets and by              in about 150 mg/ml in the oral liquid formulation . In some
  routine testing .                                                         embodiments , xylitol is present in about 200 mg/ml in the
      In some embodiments , the enalapril oral liquid formula -             oral liquid formulation .
  tion described herein comprises a sweetening agent. In some                  In some embodiments , xylitol is present in about 80 %
   embodiments , the sweetening agent is sucralose . In some 10 w / w to about 99 % w / w of the solids in the oral liquid
  embodiments, the sweetening agent is xylitol. In some                     formulation . In other embodiments , xylitol is present in
  embodiments, the sweetener is not mannitol.                               about 80 % w / w , about 81 % w / w , about 82 % w /w , about 83 %
     In some embodiments , the enalapril oral liquid formula                w /w , about 84 % w /w , about 85 % w /w , about 86 % w /w ,
  tion described herein comprises sucralose . In some embodi-               about 87 % w /w , about 88 % w / w , about 89 % w /w , about 90 %
  ments , sucralose is present in about 0 .5 to about 0 . 9 mg/ml 15        w /w , about 91 % w /w , about 92 % w / w , about 93 % w /w ,
  in the oral liquid formulation . In other embodiments, sucral-            about 94 % w /w , about 95 % w / w , about 96 % w /w , about 97 %
  ose is present in about 0 . 51 mg/ml, about 0 .52 mg/ml, about            w / w , about 98 % w / w , or about 99 % w /w of the solids in the
   0 .53 mg/ml, about 0 .54 mg/ml, about 0 .55 mg/ml, aboutoral liquid formulation . In some embodiments , xylitol is
   0 .56 mg/ml, about 0 . 57 mg/ml, about 0 .58 mg/ml, about present in about 96 % w /w to about 98 % w / w of the solids
   0 .59 mg/ml, about 0 .60 mg/ml, about 0 .61 mg/ml, about 20 in the oral liquid formulation . In some embodiments, xylitol
  0 .62 mg/ml, about 0 .63 mg/ml, about 0 .64 mg/ml, about                  is present in about 96 % w /w of the solids in the oral liquid
  0 .65 mg/ml, about 0 .66 mg/ml, about 0 .67 mg/ml, about                  formulation .
  0 .68 mg/ml, about 0 .69 mg/ml, about 0 . 70 mg/ml, about                 Preservative in the Enalapril Oral Liquid Formulations
   0 .71 mg/ml, about 0 .72 mg/ml, about 0 .73 mg/ml, about                   Preservatives include anti -microbials , anti -oxidants , and
   0 .74 mg/ml, about 0 .75 mg/ml, about 0 .76 mg/ml, about 25 agents that enhance sterility . Exemplary preservatives
   0 .77 mg/ml, about 0 . 78 mg/ml, about 0 .79 mg/ml, about                include ascorbic acid , ascorbyl palmitate , BHA , BHT, citric
   0 .80 mg/ml, about 0 . 81 mg/ml, about 0 . 82 mg/ml, about               acid , EDTA and its salts, erythorbic acid , fumaric acid ,malic
  0 . 83 mg/ml, about 0 .84 mg/ml, about 0 .85 mg/ml, about                 acid , propyl gallate , sodium ascorbate , sodium bisulfate ,
   0 .86 mg/ml, about 0 . 87 mg/ml, about 0 .88 mg/ml, about                sodium metabisulfite , sodium sulfite , parabens (such as
  0 .89 mg/ml, or about 0 . 90 mg/ml in the oral liquid formu- 30 methylparaben , ethylparaben , propylparaben , butylparaben
  lation. In some embodiments, sucralose is present in about and their salts ), benzoic acid , sodium benzoate , potassium
  0 .7 mg/ml in the oral liquid formulation .                      sorbate , vanillin , and the like .
      In some embodiments , sucralose is present in about 1 %             In some embodiments , the enalapril oral liquid formula
  w / w to about 30 % w /w of the solids in the oral liquid            tion described herein comprises a preservative .
  formulation . In some embodiments, sucralose is present in 35 In some embodiments , the preservative is a paraben and
  about 1 % w / w , about 1. 5 % w / w , about 2 % w /w , about 2 .5 % the sweetener is not a sugar (such as , but not limited to
   w /w , about 3 % w /w , about 3.5 % w /w , about 4 % w / w , about       glucose , fructose , sucrose, lactose , maltose) or a sugar
   4 .5 % w /w , about 5 % w / w , about 5 . 5 % w / w , about 6 % w /w , alcohol ( such as, but not limited to xylitol,mannitol, lactitol,
   about 6 . 5 % w / w , about 7 % w /w , about 7 .5 % w /w , about 8 %   maltitol, sorbitol) .
   w / w , about 8 . 5 % w /w , about 9 % w / w , about 9 .5 % w /w , 40 In some embodiments , the preservative is sodium benzo
  about 10 % w / w , about 10 .5 % w / w , about 11 % w / w , about         ate .
  11 . 5 % w /w , about 12 % w / w , about 12 .5 % w / w , about 13 %          In some embodiments, modulation of the pH is desired to
  w /w , about 13 .5 % w /w , about 14 % w /w , about 14 .5 % w /w          provide the best antimicrobial activity of the preservative ,
   about 15 % w / w , about 15 . 5 % w / w , about 16 % w /w , about        sodium benzoate . In some embodiments, the antimicrobial
   16 .5 % w /w , about 17 % w /w , about 17 .5 % w /w , about 18 % 45 activity of sodium benzoate drops when the pH is increased
  w /w , about 18 .5 % w /w , about 19 % w /w , about 19 .5 % w /w ,        above 5 .
  about 20 % w / w , about 20 .5 % w / w , about 21 % w / w , about            In some embodiments , the pH of the enalapril oral liquid
  21.5 % w /w , about 22 % w / w , about 22 .5 % w /w , about 23 %          formulation described herein is less than about 4 . In some
   w / w , about 23 . 5 % w / w , about 24 % w /w , about 24 . 5 % w /w ,   embodiments , the pH of the enalapril oral liquid formulation
   about 25 % w /w , about 25 .5 % w / w , about 26 % w /w , about 50 described herein is less than about 3.5 . In some embodi
   26 .5 % w / w , about 27 % w /w , about 27 .5 % w /w , about 28 %        ments , the pH of the enalapril oral liquid formulation
  w /w , about 28 .5 % w /w , about 29 % w /w , about 29.5 % w /w , described herein is between about 3 and about 4 . In some
  or about 30 % w /w of the solids in the oral liquid formula - embodiments, the pH of the enalapril oral liquid formulation
  tion . In some embodiments, sucralose is present in about 8 %     described herein is between about 3 and about 3 . 5 . In some
  w / w to about 18 % w / w of the solids in the oral liquid 55 embodiments , the pH of the enalapril oral liquid formulation
  formulation . In some embodiments, sucralose is present in        described herein is about 3 , about 3 . 1, about 3 .2 , about 3 .3 ,
  about 9 . 5 % w / w of the solids in the oral liquid formulation          about 3 . 4 , about 3 . 5 , about 3 . 6 , about 3 . 7 , about 3 . 8 , about
  In some embodiments , sucralose is present in about 13 . 5 %              3 . 9 , or about 4 . In some embodiments , the pH of the
  w / w of the solids in the oral liquid formulation . In some              enalapril oral liquid formulation described herein is about
   embodiments , sucralose is present in about 16 . 5 % w / w of 60 3 . 3 .
  the solids in the oral liquid formulation.                            In some embodiments, sodium benzoate is present in
      In some embodiments , the enalapril oral liquid formula -    about 0 . 2 to about 1 . 2 mg/ml in the oral liquid formulation .
   tion described herein comprises xylitol. In some embodi- In other embodiments, sodium benzoate is present in about
  ments , xylitol is present in about 140 mg/ml to about 210       0 . 2 mg/ml, about 0 .21 mg/ml, about 0 . 22 mg/ml, about 0 .23
  mg/ml in the oral liquid formulation .                        65 mg/ml, about 0 .24 mg/ml, about 0 .25 mg/ml, about 0. 26
      In some embodiments, xylitol is present in about 140 mg/ml, about 0 . 27 mg/ml, about 0 .28 mg/ml, about 0 . 29
  mg/ml, about 145 mg/ml, about 150 mg/ml, about 155 mg/ml, about 0 .3 mg/ml, about 0 .31 mg/ml, about 0. 32
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 12 of 27 PageID: 227


                                                             US 10, 154 , 987 B2
                                                                                                             12
  mg/ml, about 0 .33 mg/ml, about 0 . 34 mg/ml, about 0 . 35                 w /w , about 25 % w /w , about 25 .5 % w / w , about 26 % w /w ,
  mg/ml, about 0 .36 mg/ml, about 0 .37 mg/ml, about 0 .38                   about 26 . 5 % w /w , about 27 % w /w , about 27 .5 % w /w , about
  mg/ml, about 0 .39 mg/ml, about 0 .4 mg/ml, about 0 .41                    28 % w / w , about 28 .5 % w /w , about 29 % w /w , about 29.5 %
  mg/ml, about 0 .42 mg/ml, about 0 . 43 mg/ml, about 0 .44   w /w , or about 30 % w /w of the solids in the oral liquid
  mg/ml, about 0 . 45 mg/ml, about 0 .46 mg/ml, about 0 .47 5 formulation . In some embodiments, sodium benzoate is
  mg/ml, about 0 .48 mg/ml, about 0 .49 mg/ml, about 0 .5                    present in about 10 % w / w to about 25 % w /w of the solids
  mg/ml, about 0 .51 mg/ml, about 0 .52 mg/ml, about 0 .53                   in the oral liquid formulation . In some embodiments , sodium
  mg/ml, about 0 .54 mg/ml, about 0 .55 mg/ml, about 0 . 56  benzoate is present in about 13 . 5 % w / w of the solids in the
  mg/ml, about 0 .57 mg/ml, about 0 .58 mg/ml, about 0 .59   oral liquid formulation . In some embodiments , sodium ben
  mg/ml, about 0 .6 mg/ml, about 0 .61 mg/ml, about 0 .62 10 zoate is present in about 19. 3 % w / w of the solids in the oral
  mg/ml, about 0 .63 mg/ml, about 0 .64 mg/ml, about 0 .65                   liquid formulation . In some embodiments , sodium benzoate
  mg/ml, about 0 .66 mg/ml, about 0 .67 mg/ml, about 0 .68                   is present in about 23 . 5 % w / w of the solids in the oral liquid
  mg/ml, about 0 .69 mg/ml, about 0 . 7 mg/ml, about 0 .71                   formulation .
  mg/ml, about 0 .72 mg/ml, about 0 . 73 mg/ml, about 0 .74                     In some embodiments , sodium benzoate is present in
  mg/ml, about 0 .75 mg/ml, about 0 .76 mg/ml, about 0 .77 15 about 0 . 1 % w /w to about 1 % w /w of the solids in the oral
  mg/ml, about 0 .78 mg/ml, about 0 . 79 mg/ml, about 0 . 8                  liquid formulation . In other embodiments , sodium benzoate
  mg/ml, about 0 .81 mg/ml, about 0 . 82 mg/ml, about 0 . 83                 is present in about 0 . 1 % w / w , about 0 . 15 % w / w , about 0 . 2 %
  mg/ml, about 0 .84 mg/ml, about 0 . 85 mg/ml, about 0 . 86                 w /w , about 0 .25 % w / w , about 0 . 3 % w / w , about 0 .35 % w / w ,
  mg/ml, about 0 .87 mg/ml, about 0 .88 mg/ml, about 0 .89                   about 0 . 4 % w / w , about 0 . 45 % w / w , about 0 . 5 % w /w , about
  mg/ml, about 0 .9 mg/ml, about 0 . 91 mg/ml, about 0 . 92 20 0 .55 % w /w , about 0 .6 % w / w , about 0 .65 % w /w , about 0 .7 %
  mg/ml, about 0 .93 mg/ml, about 0 . 94 mg/ml, about 0 .95                  w / w , about 0 .75 % w /w , about 0 . 8 % w /w , about 0 .85 % w / w ,
  mg/ml, about 0 . 96 mg/ml, about 0 .97 mg/ml, about 0 . 98                 about 0 . 9 % w / w , about 0 . 95 % w / w , or about 1 % w / w of the
  mg/ml, about 0 . 99 mg/ml, about 1 mg/ml, about 1.01 mg/ml,                solids in the oral liquid formulation . In some embodiments,
  about 1 .02, mg/ml, about 1. 03 mg/ml, about 1 .04 mg/ml, sodium benzoate is present in about 0 .4 % w / w to about 0 . 7 %
  about 1. 05 mg/ml, about 1 .06 mg/ml, about 1. 07 mg/ml, 25 w /w of the solids in the oral liquid formulation . In some
  about 1. 08 mg/ml, about 1.09 mg/ml, about 1 . 1 mg/ml,      embodiments , sodium benzoate is present in about 0 .45 %
  about 1. 11 mg/ml, about 1. 12 , mg/ml, about 1 . 13 mg /ml, w /w of the solids in the oral liquid formulation . In some
  about 1. 14 mg/ml, about 1.15 mg/ml, about 1 . 16 mg/ml, embodiments , sodium benzoate is present in about 0 .6 %
  about 1. 17 mg/ml, about 1. 18 mg/ml, about 1. 19 mg/ml, or                w /w of the solids in the oral liquid formulation .
  about 1 . 2 mg/ml in the liquid oral formulation . In some 30                 In some embodiments , sodium benzoate is present in an
   embodiments, sodium benzoate is present in about 1 mg/ml                  amount sufficient to provide antimicrobial effectiveness to
   in the oral liquid formulation .                                          the enalapril oral liquid formulation described herein . (See
      In some embodiments , sodium benzoate is present in                    Table G - 1 ) .
   about 1 % w /w to about 30 % w / w of the solids in the oral     In some embodiments , the preservative is a paraben . In
   liquid formulation . In other embodiments , sodium benzoate 35 some embodiments, the preservative is a mixture of para
   is present in about 1 % w / w , about 1. 5 % w /w , about 2 % w /w ,      bens. In some embodiments, the paraben or mixture of
  about 2 . 5 % w / w , about 3 % w / w , about 3 . 5 % w / w , about 4 %    parabens is present in about 0 . 1 mg/ml to about 2 mg/ml in
  w /w , about 4 . 5 % w /w , about 5 % w /w , about 5 .5 % w /w ,           the oral liquid formulation . In other embodiments, the
  about 6 % w /w , about 6 .5 % w /w , about 7 % w /w , about 7 .5 %         paraben or mixture of parabens is present in about 0 .1
   w / w , about 8 % w / w , about 8 . 5 % w / w , about 9 % w /w , about 40 mg/ml, about 0 .2 mg/ml, about 0 . 3 mg/ml, about 0 . 4 mg/ml,
   9 .5 % w /w , about 10 % w / w , about 10 .5 % w / w , about 11 %         about 0 .5 mg/ml, about 0 .6 mg/ml, about 0 .7 mg/ml, about
   w / w , about 11. 5 % w / w , about 12 % w / w , about 12 . 5 % w /w ,    0 . 8 mg/ml, about 0 .9 mg/ml, about 1 mg/ml, about 1. 1
   about 13 % w /w , about 13 .5 % w / w , about 14 % w /w , about           mg/ml, about 1.2 mg/ml, about 1. 3 mg/ml, about 1.4 mg/ml,
   14. 5 % w /w , about 15 % w /w , about 15. 1 % w /w , about 15 .2 %       or about 1.5 mg/ml, about 1.6 mg/ml, about 1. 7 mg/ml,
   w /w , about 15 .3 % w /w , about 15 .4 % w / w , about 15. 5 % w /w , 45 about 1.8 mg/ml, about 1.9 mg/ml, or about 2 mg/ml in the
  about 15 .6 % w /w , about 15 .7 % w / w , about 15 .8 % w /w ,            liquid oral formulation . In some embodiments, the paraben
  about 15 . 9 % w / w , about 16 % w / w , about 16 . 1 % w / w , about     or mixture of parabens is present in about 1 . 6 mg/ml to about
   16 .2 % w / w , about 16 .3 % w / w , about 16 .4 % w /w , about          2 mg/ml in the oral liquid formulation . In some embodi
   16 .5 % w /w , about 16 .6 % w / w , about 16 .7 % w /w , about ments , the paraben or mixture of parabens is present in about
   16 .8 % w / w , about 16 .9 % w /w , about 17 % w / w , about 17 . 1 % 50 1 .6 mg/mlto about 1. 8 mg/ml in the oral liquid formulation .
   w / w , about 17 . 2 % w /w , about 17 .3 % w / w , about 17 . 4 % w /w . In some embodiments , the paraben or mixture of parabens is
   about 17 .5 % w /w , about 17 .6 % w /w , about 17 .7 % w /w , present in about 0 . 1 mg/ml to about 0 .5 mg/ml in the oral
  about 17 .8 % w /w , about 17 .9 % w /w , about 18 % w /w , about          liquid formulation .
   18 . 1 % w /w , about 18 .2 % w /w , about 18 . 3 % w /w , about             In some embodiments, the paraben or mixture of parabens
   18 .4 % w /w , about 18 .5 % w /w , about 18 .6 % w /w , about 55 is present in about 2 % w /w to about 30 % w /w of the solids
   18 .7 % w /w , about 18 . 8 % w /w , about 18 . 9 % w /w , about 19 %     in the oral liquid formulation . In other embodiments, the
   w / w , about 19 . 1 % w / w , about 19 .2 % w / w , about 19 . 3 % w /w paraben or mixture of parabens is present in about 2 % w / w ,
  about 19 .4 % w /w , about 19 .5 % w / w , about 19 .6 % w /w ,            about 3 % w /w , about 4 % w /w , about 5 % w /w , about 6 %
   about 19 .7 % w /w , about 19 .8 % w /w , about 19 . 9 % w /w          w /w , about 7 % w / w , about 8 % w /w , about 9 % w /w , about
   about 20 % w /w , about 20 . 1 % w /w , about 20 . 2 % w /w , about 60 10 % w / w , about 11 % w / w , about 12 % w /w , about 13 % w / w ,
  20 .3 % w /w , about 20 .4 % w /w , about 20 .5 % w / w , about            about 14 % w /w , about 15 % w /w , about 16 % w /w , about 17 %
  20 .6 % w /w , about 20 .7 % w /w , about 20 . 8 % w /w , about            w / w , about 18 % w / w , about 19 % w /w , about 20 % w / w ,
  20 . 9 % w / w , about 21 % w / w , about 21. 1 % w / w , about 21 . 2 %   about 21 % w / w , about 22 % w / w , about 23 % w /w , about 24 %
   w / w , about 21. 3 % w /w , about 21.4 % w /w , about21.5 % w / w        w /w , about 25 % w /w , about 26 % w / w , about 27 % w /w ,
   about 21 .6 % w /w , about 21. 7 % w /w , about 21. 8 % w /w , 65 about 28 % w / w , about 29 % w /w , or about 30 % w / w of the
   about 21. 9 % w /w , about 22 % w /w , about 22 .5 % w /w , about solids in the oral liquid formulation . In some embodiments ,
  23 % w / w , about 23 . 5 % w /w , about 24 % w /w , about 24 .5 %         the paraben or mixture of parabens is present in about 2 %
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 13 of 27 PageID: 228


                                                       US 10 ,154 ,987 B2
                                13                                                                         14
  w / w to about 3 % w / w of the solids in the oral liquid
  formulation . In some embodiments , the paraben or mixture
  of parabens is present in about 23 % w / w to about 26 % w / w
  of the solids in the oral liquid formulation . In some embodi
  ments , the paraben or mixture of parabens is present in about 5
   26 % w / w to about 30 % w /w of the solids in the oral liquid
   formulation .
  Sweetener and Preservative Incompatibility
     Paraben preservatives ( especially methylparaben ) can
  react with selected sugars ( glucose , fructose , sucrose , lac - 10
  tose , maltose ) and sugar alcohols (xylitol, mannitol, lactitol,
  maltitol, sorbitol) to form transesterification reaction prod                                 enalapril diketopiperazine
  ucts . This can be undesirable from a formulation and sta
  bility standpoint as the transesterification creates additional
  degradants .                                                    15
     In some embodiments, the enalapril oral liquid formula
  tion described herein does not comprise a paraben preser
  vative . In further embodiments , the enalapril oral liquid
  formulation described herein does not comprise a paraben
  preservative when the formulation also comprises a sugar or 20
                                                                                       ?? ,
   sugar alcohol.
  pH of Enalapril Oral Liquid Formulations                                                             N
     Buffering agents maintain the pH of the liquid enalapril
   formulation . Non -limiting examples of buffering agents                                                           HO
  include, but are not limited to sodium bicarbonate , potas- 25                                       enalaprilat
   sium bicarbonate, magnesium hydroxide , magnesium lac
  tate , magnesium glucomate , aluminum hydroxide , alumi
  num hydroxide/sodium bicarbonate co -precipitate , mixture                In some embodiments, the percentage of enalaprilat for
  of an amino acid and a buffer, a mixture of aluminum                   mation is increased when the pH is above 3 .5 . (See table C - 2
  glycinate and a buffer, a mixture of an acid salt of an amino 30 and FIG . 1 and FIG . 2 ). In some embodiments , the percent
  acid and a buffer, and a mixture of an alkali salt of an amino age of enalapril diketopiperazine formation is slightly
  acid and a buffer. Additional buffering agents include citric          increased as the pH is below 4 .
  acid , sodium citrate , sodium tartarate , sodium acetate ,               In some embodiments , the pH of the enalapril oral liquid
  sodium carbonate, sodium polyphosphate, potassium poly -                formulation described herein is less than about 4 . In some
  phosphate , sodium pyrophosphate , potassium pyrophos - 35 embodiments , the pH of the enalapril oral liquid formulation
  phate , disodium hydrogenphosphate , dipotassium hydrogen              described herein is less than about 3 .5 . In some embodi
  phosphate , trisodium phosphate , tripotassium phosphate ,             ments , the pH of the enalapril oral liquid formulation
  sodium acetate, potassium metaphosphate, magnesium                     described herein is between about 3 and about 4 . In some
  oxide, magnesium hydroxide, magnesium carbonate, mag                   embodiments, the pH of the enalapril oral liquid formulation
  nesium silicate, calcium acetate , calcium glycerophosphate , 40 described herein is between about 3 and about 3.5 . In some
  calcium chloride, calcium hydroxide, calcium lactate, cal -            embodiments , the pH of the enalapril oral liquid formulation
  cium carbonate , calcium bicarbonate , and other calcium               described herein is about 3 , about 3 . 1, about 3 . 2 , about 3 .3 ,
  salts . Some buffering agents also impart effervescent quali-          about 3 . 4 , about 3 .5 , about 3 .6 , about 3 .7 , about 3 . 8 , about
   ties when a powder is reconstituted in a solution . In some      3 . 9 , or about 4 . In some embodiments , the pH of the
   embodiments , the buffering agent is not sodium bicarbonate . 45 enalapril oral liquid formulation described herein is about
     In some embodiments , the oral liquid formulation com -             3 .3 .
  prises a buffer.                                                           In some embodiments, the formation of degradants is
     In some embodiments , the buffer in the enalapril oral              dependent on the buffer concentration . In some embodi
   liquid formulation described herein comprises citric acid . In        ments , the buffer concentration impacts the taste of the
  some embodiments , the buffer in the enalapril oral liquid 50 enalapril oral liquid formulation .
  formulation described herein comprises citric acid and                    In some embodiments , the buffer concentration is
  sodium citrate . In some embodiments, the buffer in the                between about 5 mM and about 20 mM . In some embodi
  enalapril oral liquid formulation described herein comprises           ments, the buffer concentration is about 5 mM , about 6 mM ,
  citric acid and sodium citrate dihydrate or an equivalent               about 7 mM , about 8 mM , about 9 mm , about 10 mM , about
  molar amount of sodium citrate anhydrous. In some embodi- 55 11 mM , about 12 mM , about 13 mm , about 14 mM , about
  ments, the sodium citrate is monosodium citrate . In some 15 mM , about 16 mM , about 17 mM , about 18 mM , about
   embodiments, the sodium citrate is disodium cimato . In               19 mM , or about 20 mM . In some embodiments, the buffer
  some embodiments , the sodium citrate is trisodium citrate .           concentration is about 5 mM . In some embodiments , the
     In some embodiments , the buffer in the enalapril oral              buffer concentration is about 10 mM . In some embodiments ,
  liquid formulation described herein comprises phosphoric 60 the buffer concentration is about 20 mM .
   acid . In some embodiments, the buffer in the enalapril oral             In some embodiments, citric acid is present in about 0 .7
  liquid formulation described herein comprises sodium phos -            to about 2 mg/ml in the oral liquid formulation . In other
  phate .                                                                embodiments, citric acid is present in about 0 . 7 mg/ml,
     In some embodiments , modulation of the pH is desired to            about 0 .71 mg/ml, about 0 .72 mg/ml, about 0.73 mg/ml,
  provide a lowered impurity profile. In the exemplary stabil - 65 about 0 .74 mg/ml, about 0 .75 mg/ml, about 0 .76 mg/ml,
  ity studies, the main enalapril degradants are enalapril         about 0 .77 mg/ml, about 0 . 78 mg/ml, about 0 .79 mg/ml,
  diketopiperazine and enalaprilat:                                about 0 .8 mg/ml, about 0 .81 mg/ml, about 0 .82 mg/ml,
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 14 of 27 PageID: 229


                                                         US 10 , 154 ,987 B2
                                15                                                                16
  about 0 .83 mg/ml, about 0 .84 mg/ml, about 0 .85 mg/ml, w / w , about 35 % w /w , about 36 % w /w , about 37 % w /w ,
  about 0 . 86 mg/ml, about 0 .87 mg/ml, about 0 .88 mg/ml, about 38 % w / w , about 39 % w / w , about 40 % w /w , about 41 %
  about 0 .89 mg/ml, about 0 .9 mg/mL , about 0 . 91 mg/mL, w /w , about 42 % w /w , about 43 % w / w , about 44 % w /w ,
  about 0 .92 mg/mL , about 0 . 93 mg/mL , about 0 . 94 mg/mL, about 45 % w / w , about 46 % w / w , about 47 % w /w , about 48 %
  about 0 .95 mg/mL , about 0 .96 mg/mL , about 0 .97 mg/mL , 5 w / w , about 49 % w / w , about 50 % w / w of the solids in the oral
  about 0 . 98 mg/mL , about 0 . 99 mg/mL, about 1 mg/mL , liquid formulation . In some embodiments , citric acid is
  about 1 . 11 mg/ml, about 1 . 12 mg/ml, about 1 . 13 mg/ml,           present in about 45 % w / w of the solids in the oral liquid
  about 1. 14 mg/ml, about 1 . 15 mg/ml, about 1 . 16 mg/ml,
                                                           formulation . In some embodiments, citric acid is present in
   about 1. 17 mg/ml, about 1 . 18 mg/ml, about 1 . 19 mg/ml,
                                                           about 31 % w /w of the solids in the oral liquid formulation .
  about 1 .2 mg/ml, about 1.21 mg/ml, about 1.22 mg/ml, 10 In some   embodiments , citric acid is present in about 35 %
  about 1 .23 mg/ml, about 1 .24 mg/ml, about 1.25 mg/ml, w /w of the   solids in the oral liquid formulation . In some
  about 1.26 mg/ml, about 1.27 mg/ml, about 1.28 mg/ml, embodiments, citric acid is present in about 19 % w /w of the
  about 1 .29 mg/ml, about 1 . 3 mg/mL , about 1 .31 mg/mL ,
  about 1.32 mg/mL , about 1. 33 mg/mL , about 1. 34 mg/mL, solids
                                                                In
                                                                    in the oral liquid formulation .
                                                                   some  embodiments, citric acid is present in about 1 %
  about 1.35 mg/mL , about 1.36 mg/mL , about 1.37 mg/mL , 15
  about 1. 38 mg/mL , about 1. 39 mg/mL, about 1.4 mg/ml, w / w to about 5 % w / w of the solids in the oral liquid
  about 1. 41 mg/ml, about 1.42 mg/ml, about 1.43 mg/ml, formulation . In other embodiments, citric acid is present in
  about 1.44 mg/ml, about 1.45 mg/ml, about 1 .46 mg/ml, about 1 % w / w , about 1.1 % w /w , about 1.2 % w /w , about
  about 1.47 mg/ml, about 1 .48 mg/ml, about 1.49 mg/ml, 1 .3 % w / w , about 1 .4 % w / w , about 1.5 % w / w , about 1.6 %
  about 1.5 mg/ml, about 1.51 mg/ml, about 1. 52 mg/ml, 20 w /w , about 1.7 % w /w , about 1. 8 % w /w , about 1. 9 % w /w ,
  about 1. 53 mg/ml, about 1 .54 mg/ml, about 1. 55 mg/ml,    about 2 % w / w , about 2 . 1 % w /w , about 2 . 2 % w /w , about
  about 1. 56 mg/ml, about 1.57 mg/ml, about 1.58 mg/ml, 2 .3 % w /w , about 2 .4 % w /w , about 2 .5 % w /w , about 2 .6 %
  about 1.59 mg/ml, about 1.6 mg/mL , about 1.61 mg/mL, w /w , about 2 .7 % w /w , about 2. 8 % w / w , about 2 . 9 % w /w ,
  about 1 .62 mg/mL , about 1.63 mg/mL , about 1.64 mg/mL,     about 3 % w /w , about 3 . 1 % w /w , about 3 . 2 % w /w , about
  about 1 .65 mg/mL , about 1.66 mg/mL , about 1.67 mg/mL , 25 3 . 3 % w / w , about 3 .4 % w /w , about 3 . 5 % w /w , about 3 .6 %
  about 1. 68 mg/mL , about 1.69 mg/mL , about 1. 7 mg/ml,     w / w , about 3 .7 % w /w , about 3 . 8 % w / w , about 3 . 9 % w / w ,
  about 1 .71 mg/ml, about 1 .72 mg/ml, about 1 .73 mg/ml,              about 4 % w / w , about 4 . 1 % w / w , about 4 . 2 % w / w , about
  about 1. 74 mg/ml, about 1.75 mg/ml, about 1.76 mg/ml, 4 .3 % w /w , about 4 .4 % w /w , about 4 .5 % w /w , about 4 .6 %
  about 1 . 77 mg/ml, about 1 .78 mg/ml, about 1 .79 mg/ml,  w / w , about 4 .7 % w / w , about 4 . 8 % w /w , about 4 . 9 % w / w , or
  about 1.8 mg/ml, about 1. 81 mg/ml, about 1. 82 mg/ml, 30 about 5 % w /w of the solids in the oral liquid formulation . In
  about 1 . 83 mg/ml, about 1 .84 mg/ml, about 1 . 85 mg/ml, some embodiments , citric acid is present in about 2 . 1 % w / w
  about 1. 86 mg/ml, about 1. 87 mg/ml, about 1. 88 mg/ml, of the solids in the oral liquid formulation . In some embodi
   about 1 . 89 mg /ml, about 1 . 9 mg/mL , about 1. 91 mg/mL,          ments , citric acid is present in about 1.6 % w / w of the solids
  about 1 . 92 mg/mL , about 1 .93 mg/mL , about 1 . 94 mg/mL ,         in the oral liquid formulation .
   about 1 . 95 mg/mL , about 1. 96 mg/mL , about 1. 97 mg/mL, 35 In some embodiments , sodium citrate dihydrate is present
   about 1 . 98 mg/mL, about 1. 99 mg/mL , or about 2 mg/mL in   in about 0 . 1 to about 0 . 8 mg/ml in the oral liquid formula
  the oral liquid formulation . In some embodiments , citric acid       tion . In other embodiments , sodium citrate dihydrate is
  is present in about 1 .65 mg/ml in the oral liquid formulation        present in the oral liquid formulation is about 0 . 1 mg/mL ,
  In some embodiments, citric acid is present in about 1 . 82           about 0 . 11 mg/mL , about 0 . 12 mg/mL , about 0 . 13 mg/mL ,
  mg/ml in the oral liquid formulation . In some embodiments , 40 about 0 . 14 mg/mL , about 0 . 15 mg/ml, about 0 . 16 mg/mL ,
   citric acid is present in about 0 . 82 mg/ml in the oral liquid      about 0 . 17 mg/mL, about 0 . 18 mg/mL , about 0 . 19 mg/mL ,
   formulation .                                                        about 0 .2 mg/ml, about 0 .21 mg/ml, about 0 .22 mg/ml,
     In some embodiments, citric acid is present in about 2 to          about 0 .23 mg/ml, about 0 .24 mg/ml, about 0 .25 mg/ml,
   about 3 .5 mg/ml in the oral liquid formulation . In other           about 0 . 26 mg/ml, about 0 .27 mg/ml, about 0 .28 mg/ml,
  embodiments, citric acid is present in about 2 mg/mL , about 45 about 0 .29 mg/ml, about 0 .3 mg/ml, about 0 .31 mg/ml,
  2 .05 mg/mL , about 2 . 1 mg/mL , about 2 . 15 mg/mL , about    about 0 .32 mg/ml, about 0 .33 mg/ml, about 0 .34 mg/ml,
  2 .2 mg/mL, about 2 . 25 mg/mL , about 2 .3 mg/mL, about about 0 . 35 mg/ml, about 0 . 36 mg/ml, about 0 . 37 mg/ml,
   2 .35 mg/mL , about 2 . 4 mg/mL , about 2 .45 mg/mL , about          about 0 . 38 mg/ml, about 0 .39 mg/ml, about 0 .4 mg/ml,
   2 .5 mg/mL , about 2 .55 mg/mL , about 2 .6 mg/mL , about            about 0 .41 mg/ml, about 0 .42 mg/ml, about 0 .43 mg/ml,
   2 .65 mg/mL , about 2 .7 mg/mL, about 2 .75 mg/mL , about 50 about 0 .44 mg/ml, about 0 . 45 mg/ml, about 0 .46 mg/ml,
   2 . 8 mg/mL , about 2 .85 mg/mL , about 2 . 9 mg/mL , about          about 0 . 47 mg/ml, about 0 .48 mg/ml, about 0 .49 mg/ml,
   2 .95 mg/mL , about 3 mg/mL , about 3 .05 mg/ml, about 3 . 1         about 0 . 5 mg/ml, about 0 .51 mg/ml, about 0 .52 mg/ml,
  mg/mL , about 3 . 15 mg/mL, about 3 .2 mg/mL , about 3. 25            about 0 . 53 mg/ml, about 0 .54 mg/ml, about 0 .55 mg/ml,
  mg/mL , about 3 .3 mg/mL , about 3 .35 mg/mL , about 3 .4      about 0 .56 mg/ml, about 0 . 57 mg/ml, about 0 .58 mg/ml,
  mg/mL , about 3 .45 mg/mL , or about 3 .5 mg/mL in the oral 55 about 0 .59 mg/ml, about 0 .6 mg/ml, about 0 .61 mg/ml,
  liquid formulation . In some embodiments , citric acid is             about 0 .62 mg/ml, about 0 .63 mg/ml, about 0 .64 mg/ml,
  present in about 3 . 3 mg/ml in the oral liquid formulation           about 0 .65 mg/ml, about 0 .66 mg/ml, about 0 .67 mg/ml,
      In some embodiments , citric acid is present in about 10 %        about 0 .68 mg/ml, about 0 .69 mg/ml, about 0 .7 mg/ml,
  w / w to about 50 % w /w of the solids in the oral liquid             about 0 .71 mg/ml, about 0 . 72 mg/ml, about 0 .73 mg/ml,
  formulation . In other embodiments , citric acid is present in 60     about 0 .74 mg/ml, about 0 . 75 mg/ml, about 0 .76 mg/ml,
   about 10 % w /w , about 11 % w /w , about 12 % w / w , about 13 %    about 0 .77 mg/ml, about 0 .78 mg/ml, about 0 .79 mg/ml, or
   w / w , about 14 % w / w , about 15 % w / w , about 16 % w / w       about 0 . 8 mg/ml in the oral liquid formulation . In some
  about 17 % w /w , about 18 % w /w , about 19 % w /w , about 20 %      embodiments, sodium citrate dihydrate is present in about
   w / w , about 21 % w /w , about 22 % w / w , about 23 % w / w ,        0 .75 mg/ml in the oral liquid formulation . In some embodi
   about 24 % w / w , about 25 % w /w , about 26 % w / w , about 27 % 65 ments , sodium citrate dihydrate is present in about 0 . 35
   w / w , about 28 % w /w , about 29 % w / w , about 30 % w /w , mg/ml in the oral liquid formulation . In some embodiments ,
   about 31 % w / w , about 32 % w / w , about 33 % w / w , about 34 %    sodium citrate dihydrate is present in about 0 . 2 mg/ml in the
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 15 of 27 PageID: 230


                                                             US 10 ,154 ,987 B2
                                     17                                                                     18
  oral liquid formulation . In some embodiments , sodium cit          cinnamon, cacao , orange, peppermint, cherry (in particular
  rate dihydrate is present in about 0 . 15 mg/ml in the oral wild cherry ), grape, bubblegum , vanilla , and mixed berry . In
  liquid formulation.                                                 some embodiments , the enalapril liquid formulation
     In some embodiments , sodium citrate dihydrate is present described herein comprises a mixed berry flavoring agent.
  in about 1 % w / w to about 15 % w /w of the solids in the oral 5 Flavoring agents can be used singly or in combinations of
  liquid formulation . In other embodiments, sodium citrate two or more .
  dihydrate is present in about 1 % w /w , about 1. 1 % w / w , about  I n further embodiments, the enalapril liquid formulation
   1. 2 % w / w , about 1. 3 % w / w , about 1. 4 % w / w , about 1. 5 % comprises a coloring agent for identity and /or aesthetic
   w / w , about 1 .6 % w /w , about 1 .7 % w /w , about 1. 8 % w / w    purposes . Suitable coloring agents illustratively include
   about 1. 9 % w /w , about 2 % w / w , about 2 . 1 % w / w , about 10 FD & C Red No. 3 , FD & C Red No . 20 , FD & C Red No . 40 ,
  2 . 2 % w /w , about 2 . 3 % w /w , about 2. 4 % w /w , about 2 .5 %       FD & C Yellow No . 6 , FD & C Blue No. 2 , FD & C Green No.
  w /w , about 2 .6 % w /w , about 2 .7 % w / w , about 2 .8 % w /w ,        5 , FD & C Orange No. 5 , caramel, ferric oxide and mixtures
  about 2 . 9 % w /w , about 3 % w /w , about 3 . 1 % w /w , about           thereof.
   3 .2 % w / w , about 3 . 3 % w / w , about 3 . 4 % w / w , about 3 . 5 %   Thickeners impart viscosity or weight to the resultant
   w / w , about 3 .6 % w /w , about 3 .7 % w / w , about 3 .8 % w /w , 15 liquid forms from the enalapril formulation described
   about 3 . 9 % w /w , about 4 % w / w , about 4 .5 % w / w , about 5 %     herein . Exemplary thickeners include dextrin , cellulose
   w / w , about 5 . 5 % w / w , about 6 % w / w , about 6 .5 % w /w ,       derivatives ( carboxymethylcellulose and its salts , ethylcel
   about 7 % w / w , about 7 .5 % w / w , about 8 % w /w , about 8 . 5 %     lulose , hydroxyethyl cellulose , methylcellulose, hypromel
   w / w , about 9 % w /w , about 9 . 5 % w / w , about 10 % w / w , about   lose , and the like) starches , pectin , polyethylene glycol,
   10 . 5 % w / w , about 11 % w /w , about 11.5 % w /w , about 12 % 20 polyethylene oxide , trehalose and certain gums ( xanthan
  w / w , about 12 . 5 % w / w , about 13 % w / w , about 13. 5 % w / w , gum , locust bean gum , etc .) . In certain embodiments , the
  about 14 % w /w , about 14 .5 % w /w , about 15 % w /w of the enalapril liquid formulation comprises a thickener.
  solids in the oral liquid formulation . In some embodiments,              Additional excipients are contemplated in the enalapril
  sodium citrate dihydrate is present in about 10 .5 % w / w of liquid formulation embodiments . These additional excipi
  the solids in the oral liquid formulation . In some embodi- 25 ents are selected based on function and compatibility with
  ments, sodium citrate dihydrate is present in about 7 .5 %                 the enalapril liquid formulations described herein and may
  w / w of the solids in the oral liquid formulation . In some               be found , for example in Remington : The Science and
  embodiments, sodium citrate dihydrate is present in about                  Practice of Pharmacy, Nineteenth Ed ( Easton , Pa.: Mack
  4 . 5 % w / w of the solids in the oral liquid formulation . In Publishing Company, 1995 ) ; Hoover, John E ., Remington 's
  some embodiments, sodium citrate dihydrate is present in 30 Pharmaceutical Sciences, (Easton , Pa .: Mack Publishing Co
  about 2 .9 % w /w of the solids in the oral liquid formulation .           1975 ); Liberman , H . A . and Lachman , L ., Eds., Pharma
     In other embodiments , sodium citrate dihydrate is not                  ceutical Dosage Forms (New York , N . Y.: Marcel Decker
  added to the formulation .                                                 1980 ); and Pharmaceutical Dosage Forms and Drug Deliv
  Additional Excipients                                                      ery Systems, Seventh Ed (Lippincott Williams & Wilkins
     In further embodiments , the enalapril liquid formulation 35 1999 ), herein incorporated by reference in their entirety .
  described herein comprises additional excipients including , Stability
  but not limited to , glidants , flavoring agents, coloring agents The main enalapril degradants are enalapril diketopipera
  and thickeners . Additional excipients such as bulking agents ,            zine and enalaprilat.
  tonicity agents and chelating agents are within the scope of                  The enalapril oral liquid formulations described herein are
  the embodiments .                                       40 stable in various storage conditions including refrigerated ,
     Glidants are substances that improve flowability of a ambient and accelerated conditions. Stable as used herein
  powder. Suitable glidants include, but are not limited to ,                refers to enalapril oral liquid formulations having about 95 %
  calcium phosphate tribasic , calcium silicate, cellulose (pow -            or greater of the initial enalapril amount and about 5 % w / w
  dered ), colloidal silicon dioxide , magnesium silicate, mag -             or less total impurities or related substances at the end of a
  nesium trisilicate , silicon dioxide, starch , talc and the like . In 45 given storage period . The percentage of impurities is calcu
  some embodiments , the enalapril powder formulations                     lated from the amount of impurities relative to the amount of
  described herein comprise a glidant. In some embodiments                   enalapril . Stability is assessed by HPLC or any other known
  the glidant is not colloidal silicon dioxide.                              testing method . In some embodiments , the stable enalapril
     In another embodiment, the enalapril liquid formulation                 oral liquid formulations have about 5 % w /w , about 4 % w / w ,
  comprises a flavoring agent or flavorant to enhance the taste 50 about 3 % w /w , about 2.5 % w / w , about 2 % w /w , about 1.5 %
  or aroma of the formulation in liquid form . Suitable natural              w /w , about 1 % w /w , or about 0 .5 % w / w total impurities or
  or synthetic flavoring agents can be selected from standard                related substances . In other embodiments, the stable enal
  reference books, for example Fenaroli' s Handbook of Flavor                april oral liquid formulations have about 5 % w / w total
   Ingredients , 3rd edition ( 1995 ) . Non -limiting examples of impurities or related substances . In yet other embodiments ,
   suitable natural flavors , some of which can readily be 55 the stable enalapril oral liquid formulations have about 4 %
  simulated with synthetic agents or combinations thereof,                   w / w total impurities or related substances . In yet other
  include almond, anise, apple , apricot, bergamot, blackberry, embodiments, the stable enalapril oral liquid formulations
  blackcurrant, blueberry, cacao , caramel, cherry, cinnamon , have about 3 % w /w total impurities or related substances . In
  clove , coffee , coriander , cranberry , cumin , dill, eucalyptus,   yet other embodiments, the stable enalapril oral liquid
  fennel, fig , ginger, grape , grapefruit , guava , hop , lemon , 60 formulations have about 2 % w /w total impurities or related
  licorice , lime, malt, mandarin , molasses , nutmeg , mixed          substances. In yet other embodiments , the stable enalapril
  berry, orange, peach , pear ,peppermint, pineapple, raspberry , oral liquid formulations have about 1 % w /w total impurities
  rose , spearmint, strawberry, tangerine , tea , vanilla , winter - or related substances.
  green , etc . Also useful, particularly where the formulation is        At refrigerated condition ,the enalapril oral liquid formu
  intended primarily for pediatric use, is tutti-frutti or bubble - 65 lations described herein are stable for at least 1 month , at
   gum flavor, a compounded flavoring agent based on fruit                   least 2 months, at least 3 months, at least 6 months, at least
   flavors . Presently preferred flavoring agents include anise ,            9 months, at least 12 months, at least 15 months, at least 18
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 16 of 27 PageID: 231


                                                           US 10 , 154, 987 B2
                                  19                                                                           20
  months , at least 24 months, at least 30 months and at least 15 . 5 % w / w , about 16 % w /w , about 16 .5 % w /w , about 17 %
  36 months. In some embodiments, refrigerated condition is w /w , about 17 .5 % w /w , about 18 % w / w , about 18 . 5 % w / w ,
  5 + 3° C . In some embodiments, refrigerated condition is about 19 % w /w , about 19 .5 % w / w , about 20 % w /w , about
  about 2° C ., about 2 . 1° C ., about 2 . 2° C ., about 2 .3° C ., 20 . 5 % w /w , about 21 % w / w , about 21. 5 % w /w , about 22 %
  about 2 .4° C ., about 2 . 5° C ., about 2 .6° C ., about 2 .7° C ., 5 w /w , about 22 .5 % w /w , about 23 % w /w , about 23.5 % w /w ,
  about 2 .8° C ., about 2 .9° C ., about 3° C ., about 3 . 1° C ., about 24 % w / w , about 24 . 5 % w /w , about 25 % w / w , about
  about 3 . 2° C ., about 3 .3° C ., about 3 .4° C ., about 3. 5° C ., 25 . 5 % w /w , about 26 % w / w , about 26 . 5 % w /w , about 27 %
  about 3 .6° C ., about 3 .7° C ., about 3 .8° C ., about 3 . 9° C ., w /w , about 27 .5 % w /w , about 28 % w /w , about 28 .5 % w /w ,
  about 4° C ., about 4 . 1° C ., about 4 . 2° C ., about 4 . 3° C .,        about 29 % w /w , about 29 .5 % w / w , or about 30 % w /w of the
  about 4 .4° C ., about 4 .5° C ., about 4 .6° C ., about 4 .7° C ., 10 powder formulation . In some embodiments , enalapril or a
  about 4 . 8° C ., about 4 . 9° C ., about 5 ° C ., about 5 . 1° C .,      pharmaceutically acceptable salt thereof, is present in about
  about 5 . 2° C ., about 5 . 3° C ., about 5 .4° C ., about 5 .5º   C .,     10 % w /w to about 25 % w /w of the powder formulation . In
  about 5 .6° C ., about 5 .7° C ., about 5 .8° C ., about 5 . 9°    C ., some embodiments , enalapril maleate is present in about
  about 6° C ., about 6 . 1° C ., about 6 . 2° C ., about 6 . 3°     C .,     13 . 5 % w /w of the powder formulation . In some embodi
  about 6 . 4° C ., about 6 .5° C ., about 6 .6° C ., about 6 . 7°   C ., 15 ments , enalapril maleate is present in about 19 . 5 % w /w of
  about 6 . 8° C ., about 6 .9° C ., about 7° C ., about 7 . 1°      C ., the powder formulation . In some embodiments , enalapril
  about 7 .2° C ., about 7 . 3 ° C ., about 7 .4° C ., about 7 .5° C .,     maleate is present in about 24 . 5 % w / w of the powder
  about 7.6° C ., about 7 .7° C ., about 7 .8° C ., about 7 .9° C ., or      formulation . In some embodiments, enalapril is present in
  about 8° C . At accelerated conditions, the enalapril oral        about 10 .5 % w / w of the powder formulation . In some
  liquid formulations described herein are stable for at least 1 20 embodiments , enalapril is present in about 14. 5 % w / w of the
  month , at least 2 months , at least 3 months, at least 4 months,         powder formulation . In some embodiments, enalapril is
  at least 5 months, at least 6 months, at least 7 months, at least         present in about 18 % w / w of the powder formulation .
  8 months, at least 9 months , at least 10 months , at least 11                In some embodiments , enalapril or a pharmaceutically
  months or at least 12 months. Accelerated conditions for the               acceptable salt thereof, is present in about 0 . 1 % w / w to
   enalapril oral liquid formulations described herein include 25 about 1 % w / w of the powder formulation . In other embodi
  temperature and/ or relative humidity (RH ) that are at or                ments, enalapril or a pharmaceutically acceptable salt
  above ambient levels ( e . g . 25 + 5° C .; 55 - 10 % RH ). In some       thereof, is present in about 0 . 1 % w /w , about 0 . 15 % w / w ,
  instances, an accelerated condition is at about 25° C ., about            about 0 .2 % w /w , about 0 .25 % w /w , about 0 .3 % w /w , about
   30° C ., about 35° C ., about 40° C ., about 45° C ., about 50° 0 . 35 % w / w , about 0 .4 % w /w , about 0 . 45 % w / w , about 0 . 5 %
   C ., about 55° C . or about 60° C . In other instances, an 30 w / w , about 0 .55 % w /w , about 0 .6 % w /w , about 0 .65 % w / w ,
  accelerated condition is above 55 % RH , about 65 % RH ,                   about 0 .7 % w /w , about 0 .75 % w /w , about 0 .8 % w /w , about
   about 70 % RH , about 75 % RH or about 80 % RH . In further               0 .85 % w / w . about 0 . 9 % w / w , about 0 . 95 % w / w , or about 1 %
   instances, an accelerated condition is about 40° C . or 60° C .           w / w of the powder formulation . In some embodiments ,
  at ambient humidity . In yet further instances, an accelerated enalapril or a pharmaceutically acceptable salt thereof, is
  condition is about 40° C . at 75 + 5 % RH humidity .          35 present in about 0 .4 % w / w to about 0 . 7 % w / w of the powder
  Enalapril Oral Powder Formulation                                formulation . In some embodiments , enalapril maleate is
     In another aspect, enalapril oral liquid formulations                  present in about 0 .45 % w / w of the powder formulation . In
  described herein are prepared from the reconstitution of an                some embodiments , enalapril maleate is present in about
   enalapril powder formulation . In some embodiments , the                  0 .6 % w / w of the powder formulation . In some embodi
   enalapril powder formulation comprising enalapril, a sweet- 40 ments , enalapril is present in about 0 .4 % w / w of the powder
   ener, a preservative , and optionally an excipient is dissolved           formulation . In some embodiments , enalapril is present in
  in water, a buffer, other aqueous solvent, or a liquid to form            about 0.5 % w /w of the powder formulation .
  an enalapril oral liquid formulation . In one embodiment, the                 Various amounts and concentrations of other components
  sweetening agent is sucralose . In one embodiment, the                     (sweeteners , buffers, preservatives , and the like) in the
   sweetener is not mannitol. In one embodiment, the sweet - 45 enalapril powder formulations are found in the previous
   ening agent is xylitol. In another embodiment, the preser -               section describing the amounts and concentrations for the
   vative is sodium benzoate . In one embodiment, the preser-                analogous enalapril oral liquid formulations. For example , in
  vative is a paraben preservative . In one aspect, the enalapril            some embodiments where sucralose is present in about 1 %
  powder formulation described herein comprises enalapril,                   w /w to about 30 % w / w of the solids in the oral liquid
  sucralose, and sodium benzoate . In some embodiments, the 50 formulation ; in an analogous enalapril powder formulation ,
   enalapril powder formulation herein further comprises a                   sucralose would be about 1 % w / w to about 30 % w /w in the
   flavoring agent. In some embodiments, the enalapril powder               powder formulation . In some embodiments where sodium
   formulation herein further comprises one or more buffering               benzoate is present in about 1 % w / w to about 30 % w / w of
  agents .                                                    the solids in the oral liquid formulation , in an analogous
     In some embodiments , enalapril or a pharmaceutically 55 enalapril powder formulation sodium benzoate is present in
   acceptable salt thereof, is present in about 0 .5 % w / w to              about 1 % w / w to about 30 % w /w in the powder formulation .
  about 30 % w /w of the powder formulation . In other embodi                  Liquid vehicles suitable for the enalapril powder formu
  ments, enalapril or a pharmaceutically acceptable salt                    lations to be reconstituted into an oral solution described
  thereof, is present in about 0 .5 % w /w , about 1 % w /w , about herein are selected for a particular oral liquid formulation
  1.5 % w /w , about 2 % w /w , about 2 .5 % w /w , about 3 % w / w , 60 (solution, suspension , etc .) as well as other qualities such as
  about 3.5 % w /w , about 4 % w /w , about 4.5 % w /w , about 5 % clarity, toxicity , viscosity , compatibility with excipients ,
  w / w , about 5 . 5 % w /w , about 6 % w /w , about 6 .5 % w /w , chemical inertness, palatability , odor, color and economy.
  about 7 % w /w , about 7 .5 % w /w , about 8 % w /w , about 8 .5 % Exemplary liquid vehicles include water , ethyl alcohol,
  w /w , about 9 % w /w , about 9 .5 % w /w , about 10 % w /w , about glycerin , propylene glycol, syrup (sugar or other sweetener
  10 . 5 % w / w , about 11 % w /w , about 11. 5 % w /w , about 12 % 65 based , e.g ., Ora - Sweet® SF sugar-free flavored syrup ),
   w / w , about 12 . 5 % w / w , about 13 % w /w , about 13 .5 % w /w      juices (apple , grape, orange, cranberry, cherry , tomato and
   about 14 % w / w , about 14 . 5 % w / w , about 15 % w / w , about       the like ), other beverages (tea , coffee , soft drinks , milk and
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 17 of 27 PageID: 232


                                                          US 10 , 154 ,987 B2
                                   21                                                                   22
   the like ), oils (olive , soybean , corn , mineral, castor and the     mixed berry . Flavoring agents can be used singly or in
   like ), and combinations or mixtures thereof . Certain liquid          combinations of two or more .
  vehicles, e . g ., oil and water , can be combined together to             In further embodiments , the enalapril powder formulation
  form emulsions. In some embodiments, water is used for as               described herein comprises a coloring agent for identity
  a vehicle for a enalapril oral liquid formulation . In other 5 and / or aesthetic purposes . Suitable coloring agents illustra
   embodiments, a syrup is used for as a vehicle for a enalapril          tively include FD & C Red No . 3 , FD & C Red No. 20 , FD & C
  oral liquid formulation . In yet other embodiments, a juice is          Red No. 40 , FD & C Yellow No. 6 , FD & C Blue No . 2 , D & C
  used for as a vehicle for a enalapril oral liquid formulation .         Green No . 5 , D & C Orange No . 5 , caramel, ferric oxide and
     Buffering agents maintain the pH of the liquid enalapril             mixtures thereof.
  formulation . Non -limiting examples of buffering agents 10 In further embodiments , the enalapril powder formulation
  include , but are not limited to sodium bicarbonate , potas - described herein comprises a thickener. Thickeners impart
  sium bicarbonate, magnesium hydroxide , magnesium lac                   viscosity or weight to the resultant liquid forms from the
   tate , magnesium gluconate , aluminum hydroxide, aluminum              enalapril formulation described herein . Exemplary thicken
  hydroxide/ sodium bicarbonate co precipitate , mixture of an            ers include dextrin , cellulose derivatives (carboxymethyl
  amino acid and a buffer, a mixture of aluminum glycinate 15 cellulose and its salts , ethylcellulose, hydroxyethyl cellu
  and a buffer, a mixture of an acid salt of an amino acid and lose , methylcellulose, hypromellose , and the like) starches ,
  a buffer, and a mixture of an alkali salt of an amino acid and pectin , polyethylene glycol, polyethylene oxide , trehalose
  a buffer. Additional buffering agents include citric acid ,             and certain gums ( xanthan gum , locust bean gum , etc .).
  sodium citrate , sodium tartrate , sodium acetate , sodium   Additional excipients are contemplated in the enalapril
  carbonate , sodium polyphosphate , potassium polyphos - 20 powder formulation embodiments. These additional excipi
  phate , sodium pyrophosphate , potassium pyrophosphate , ents are selected based on function and compatibility with
  disodium hydrogenphosphate, dipotassium hydrogenphos - the the enalapril powder formulation described herein and
  phate , trisodium phosphate, tripotassium phosphate, sodium may be found , for example in Remington : The Science and
  acetate , potassium metaphosphate ,magnesium oxide , mag         Practice of Pharmacy , Nineteeth Ed (Easton , Pa .: Mack
  nesium hydroxide, magnesium carbonate , magnesium sili- 25 Publishing Company, 1995 ); Hoover, John E ., Remington 's
  cate , calcium acetate , calcium glycerophosphate, calcium       Pharmaceutical Sciences, (Easton , Pa,: Mack Publishing Co
  chloride, calcium hydroxide, calcium lactate , calcium car -      1975 ); Liberman , H . A . and Lachman , L ., Eds ., Pharma
  bonate , calcium bicarbonate , and other calcium salts . Some   c eutical Dosage Forms (New York , N . Y.: Marcel Decker
  buffering agents also impart effervescent qualities when a       1980 ); and Pharmaceutical Dosage Forms and Drug Deliv
  powder is reconstituted in a solution .                       30 ery Systems, Seventh Ed (Lippincott Williams & Wilkins
     In some embodiments, the reconstituted oral liquid for -             1999 ), herein incorporated by reference in their entirety .
  mulation comprises a buffer. In some embodiments, the                      In some embodiments , the enalapril oral liquid formula
  buffer comprises citric acid and sodium citrate . In further            tion prepared from the powder formulations described
   embodiments , the enalapril powder formulation described               herein are homogenous. Homogenous liquids as used herein
  herein comprises additional excipients including , but not 35 refer to those liquids that are uniform in appearance , identity ,
  limited to , glidants, flavoring agents , coloring agents and            consistency and drug concentration per volume. Non - ho
  thickeners . Additional excipients such as bulking agents,              mogenous liquids include such liquids that have varied
  tonicity agents and chelating agents are within the scope of            coloring, viscosity and/ or aggregation of solid particulates ,
  the embodiments .                                           as well as non - uniform drug concentration in a given unit
     Glidants are substances that improve flowability of a 40 volume. Homogeneity in liquids are assessed by qualitative
  powder. Suitable glidants include, but are not limited to , identification or appearance tests and /or quantitative HPLC
  calcium phosphate tribasic , calcium silicate , cellulose (pow - testing or the like . The mixing methods and excipients
  dered ), colloidal silicon dioxide , magnesium silicate , mag-        described herein are selected to impart a homogenous qual
  nesium trisilicate, silicon dioxide , starch , talc and the like. In i ty to a resultant enalapril oral liquid formulation .
  some embodiments, the enalapril powder formulations 45 Mixing methods encompass any type ofmixing that result
  described herein comprise a glidant.                                  in a homogenous enalapril oral liquid formulation . In some
      In another embodiment, the enalapril powder formulation             embodiments , a quantity of an enalapril powder formulation
  described herein comprises a flavoring agent or flavorant to      is added to a liquid vehicle and then mixed by a stirring,
  enhance the taste or aroma of the formulation in liquid form .    shaking, swirling, agitation element or a combination
  Suitable natural or synthetic flavoring agents can be selected 50 thereof. In certain instances, a fraction of a enalapril powder
  from standard reference books, for example Fenaroli 's            formulation (i.e ., one -half, one -third , one -fourth , etc .) is
  Handbook of Flavor Ingredients , 3rd edition ( 1995 ) . Non -           added to a liquid vehicle, mixed by stirring, shaking, swirl
   limiting examples of suitable natural flavors , some of which          ing , agitation or a combination thereof, and the subsequent
  can readily be simulated with synthetic agents or combina -             powder fraction ( s ) is added and mixed . In other embodi
  tions thereof, include almond , anise, apple , apricot, berga - 55 ments, a liquid vehicle is added to an enalapril powder
  mot, blackberry , blackcurrant, blueberry , cacao , caramel,             formulation in a container, for example , a bottle, vial, bag,
  cherry, cinnamon , clove , coffee , coriander, cranberry, cumin ,       beaker, syringe , or the like. The container is then mixed by
  dill , eucalyptus, fennel, fig , ginger, grape , grapefruit , guava ,   stirring , shaking , swirling, agitation , inversion or a combi
  hop , lemon , licorice , lime, malt, mandarin , molasses, nut-          nation thereof. In certain instances, a fractional volume of
  meg, mixed berry , orange , peach , pear, peppermint, pine- 60          the liquid vehicle (i.e ., one -half, one-third , one- fourth vol
  apple , raspberry, rose, spearmint, strawberry , tangerine, tea ,       ume, etc .) is added to a enalapril powder formulation in a
  vanilla , wintergreen , etc . Also useful, particularly where the       container, mixed by stirring, shaking , swirling, agitation ,
  formulation is intended primarily for pediatric use , is tutti-         inversion or a combination thereof and the subsequent liquid
   frutti or bubblegum flavor, a compounded flavoring agent               fraction ( s ) is added and mixed . In certain instances , a
  based on fruit flavors . Presently preferred flavoring agents 65        one -half fractional volume of the liquid vehicle is added to
   include anise , cinnamon , cacao , orange , peppermint, cherry         an enalapril powder formulation in a container and mixing
   (in particular wild cherry ), grape, bubblegum , vanilla , and         by shaking; the other one - half fractional volume of the
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 18 of 27 PageID: 233


                                                        US 10 , 154,987 B2
                                 23                                                                        24
   liquid vehicle is then subsequently added and mixed . In any Kits and Articles of Manufacture
  of the above embodiments , mixing (i.e ., stirring, shaking ,     For the enalapril powder and liquid formulations
                                                                  described herein , kits and articles of manufacture are also
  swirling, agitation , inversion or a combination thereof) described
  occurs for a certain time intervals such as about 10 seconds, 5 container .that
                                                                              Such kits can comprise a carrier, package, or
   about 20 seconds, about 30 seconds, about45 seconds, about 5 containers suchis ascompartmentalized
                                                                                        vials , tubes, and
                                                                                                          to receive one or more
                                                                                                            the like , each of the
  60 seconds, about 90 seconds, about 120 seconds, about 2 .5 container( s ) comprising one of the separate        elements to be
  minutes, about 3 minutes , about 3 .5 minutes, about 4 min      used in a method described herein including an enalapril
  utes, or about 5 minutes. In embodiments, where there are powder or liquid formulation . Suitable containers include,
  two or more mixing steps, the time intervals for each mixing      for example , bottles, vials , syringes , and test tubes . The
  can be the same ( e .g ., 2x10 seconds ) or different ( e .g ., 10containers can be formed from a variety of materials such as
  seconds for first mixing and 20 seconds for second mixing).       glass or plastic .
  In any of the above embodiments, a enalapril oral liquid             A kit will typically may comprise one or more additional
  formulation is allowed to stand for a period of time such as      containers , each with one or more of various materials (such
  about 10 minutes, about 20 minutes, about 30 minutes , about 1515 as reagents , optionally in concentrated form , and /or devices )
                                                                    desirable from a commercial and user standpoint for an
  45 minutes, about 1 hour, about 1 . 5 hours or about 2 hours ,    enalapril powder or liquid formulation described herein .
   to allow any air bubbles resultant from any of the mixing              Non - limiting examples of such materials include, but not
  methods to dissipate.                                                   limited to , buffers, diluents , filters, needles, syringes ; carrier,
  Stability of Enalapril Powder Formulation                               package , container , vial and/or tube labels listing contents
     The enalapril powder formulations described herein are 20 and /or instructions for use, and package inserts with instruc
   stable in various storage conditions including refrigerated ,          tions for use associated with an enalapril powder or liquid
  ambient and accelerated conditions. Stable as used herein               formulation . A set of instructions will also typically be
   refer to enalapril powder formulations having about 95 % or            included .
   greater of the initial enalapril amount and 5 % w / w or less      A label can be on or associated with the container. A label
   total impurities or related substances at the end of a given 25 can be on a container when letters , numbers or other
   storage period . The percentage of impurities is calculated            characters forming the label are attached ,molded or etched
  from the amount of impurities relative to the amount of                 into the container itself ; a label can be associated with a
  enalapril . Stability is assessed by HPLC or any other known            container when it is presentwithin a receptacle or carrier that
  testing method. In some embodiments , the stable enalapril              also holds the container, e .g ., as a package insert. A label can
  powder formulations have about 5 % w /w , about 4 % w /ww , 3030 be   used to indicate that the contents are to be used for a
  about 3 % w / w , about 2 .5 % w /w , about 2 % w /w , about 1.5 % directionstherapeutic
                                                                     specific              application . The label can also indicate
  w /w , about 1 % w / w , or about 0 .5 % w /w total impurities or described herein . the contents, such as in the methods
                                                                                  for use of
  related substances. In other embodiments , the stable enal Methods
  april powder formulations have about 5 % w / w total impu4 - 35 Provided herein , in one aspect, are methods of treatment
  rities or related substances. In yet other embodiments, the        comprising administration of the enalapril oral liquid for
  stable enalapril powder formulations have about 4 % w /w mulations described herein to a subject. In some embodi
  total impurities or related substances. In yet other embodi ments, the enalapril oral liquid formulations described
  ments, the stable enalapril powder formulations have about herein treat hypertension in a subject. Hypertension as used
  3 % w /w total impurities or related substances . In yet other 40 herein includes both primary (essential) hypertension and
  embodiments , the stable enalapril powder formulations have        secondary hypertension . In certain instances, hypertension is
  about 2 % w /w total impurities or related substances. In yet classified in cases when blood pressure values are greater
  other embodiments, the stable enalapril powder formula             than or equal to 140 /90 (systolic diastolic ) mm Hg in a
   tions have about 1 % w / w total impurities or related sub -           subject. In certain instances, the enalapril oral liquid formu
  stances.                                                             45 lations described herein treat a subject having a blood
    At refrigerated and ambient conditions, in some embodi -              pressure values are greater than or equal to 140 /90 mm Hg .
  ments, the enalapril powder formulations described herein               In certain instances, the enalapril oral liquid formulations
  are stable for at least 1 week , 2 weeks, 4 weeks, 6 weeks, 8           described herein treat primary ( essential) hypertension in a
  weeks, 10 weeks, 12 weeks, 16 weeks, 20 weeks, at least 24         subject. In other instances , the enalapril oral liquid formu
  weeks, at least 30 weeks , or at least 36 weeks. At accelerated 50 lations described herein treat secondary hypertension in a
  conditions, in some embodiments , the enalapril powder                  subject.
  formulations described herein are stable for at least 1 week ,             In other embodiments, the enalapril oral liquid formula
  at least 2 weeks , at least 3 weeks, at least 4 weeks, at least         tions described herein treat prehypertension in a subject .
  5 weeks , at least 6 weeks, at least 7 weeks, at least 8 weeks , Prehypertension as used herein refers to cases where a
  at least 9 weeks, at least 10 weeks , at least 11 weeks or at 55 subject's blood pressure is elevated above normal but not to
  least 12 weeks. Accelerated conditions for the enalapril the level considered to be hypertension . In some instances ,
  powder formulations described herein include temperature prehypertension is classified in cases when blood pressure
  and / or relative humidity (RH ) that are above ambient levels          values are 120 - 139 / 80 -89 mm Hg. In certain instances , the
  ( e. g . 25 + 4° C .; 55 - 10 % RH ). In some instances , an accel- enalapril oral liquid formulations described herein treat a
  erated condition is at about 30° C ., about 35° C ., about 40° 60 subject having blood pressure values of 120 - 139 / 80 - 89 mm
  C ., about 45° C ., about 50° C ., about 55° C . or about 60° C .      Hg.
  In other instances, an accelerated condition is above 65 %                In yet other embodiments, the enalapril oral liquid for
  RH , about 70 % RH , about 75 % RH or about 80 % RH . In               mulations described herein are prophylactically adminis
  further instances , an accelerated condition is about 40° C . or t ered to subjects suspected of having, predisposed to , or at
  60° C . at ambient humidity . In yet further instances, an 65 risk of developing hypertension . In some embodiments , the
  accelerated condition is about 40° C . at 75 + 5 % RH humid             administration of enalapril oral liquid formulations
  ity.                                                                    described herein allow for early intervention prior to onset
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 19 of 27 PageID: 234


                                                        US 10 ,154 ,987 B2
                                 25                                                                     26
  of hypertension . In certain embodiments , upon detection of         about 0 .01 mg, about 0 .05 mg, about 0 . 1 mg, about 0 .2 mg,
  a biomarker, environmental, genetic factor, or other marker ,        about 0 .4 mg, about 0 .6 mg, about 0 . 8 mg, about 1mg, about
  the enalapril oral liquid formulations described herein are           1. 5 mg, about 2 mg, about 2 . 5 mg, about 3 mg, about 4 mg,
  prophylactically administered to subjects .                          about 5 mg, about 6 mg, about 7 mg, about 8 mg, about 9
     In further embodiments , the enalapril oral liquid formu- 5 mg, about 10 mg, about 11 mg, about 12 mg, about 15 mg,
  lations described herein treat heart failure (e . g ., symptomatic about 20 mg, about 25 mg, about 30 mg, about 35 mg, about
  congestive ) , asymptomatic left ventricular dysfunction ,         40 mg, about 45 mg, about 50 mg, about 55 mg, about 60
  myocardial infarction , diabetic nephropathy and chronic             mg, about 65 mg, about 70 mg, about 76 ,mg, about 80 mg,
   renal failure . In certain instances , the enalapril oral liquid    about 85 mg, about 90 mg or about 100 mg, or any range
   formulations described herein treat symptomatic congestive 10 derivable therein . In certain instances , the enalapril oral
  heart failure . In other instances , the enalapril oral liquid       liquid formulations described herein are provided in a dose
  formulations described herein treat asymptomatic left ven -          per day of about 1 mg. In certain instances, the enalapril oral
  tricular dysfunction . In further instances , the enalapril oral      liquid formulations described herein are provided in a dose
  liquid formulations described herein treat myocardial infarc -       per day of about 2 mg. In certain instances , the enalapril oral
  tion . In yet further instances, the enalapril oral liquid for- 15 liquid formulations described herein are provided in a dose
  mulations described herein treat diabetic nephropathy. In yet        per day of about 3 mg. In certain instances , the enalapril oral
  further instances , the enalapril oral liquid formulations           liquid formulations described herein are provided in a dose
  described herein treat chronic renal failure .                       per day of about 4 mg. In certain instances , the enalapril oral
  Dosing                                                           liquid formulations described herein are provided in a dose
     In one aspect, the enalapril oral liquid formulations are 20 per day of about 5 mg. In certain instances, the enalapril oral
  used for the treatment of diseases and conditions described liquid formulations described herein are provided in a dose
  herein . In addition , a method for treating any of the diseases per day of about 6 mg. In certain instances, the enalapril oral
  or conditions described herein in a subject in need of such          liquid formulations described herein are provided in a dose
  treatment, involves administration of enalapril oral liquid          per day of about 7 mg. In certain instances, the enalapril oral
   formulations in therapeutically effective amounts to said 25 liquid formulations described herein are provided in a dose
   subject.                                                            per day of about 8 mg. In certain instances , the enalapril oral
     Dosages of enalapril oral liquid formulations described           liquid formulations described herein are provided in a dose
   can be determined by any suitable method . Maximum tol-             per day of about 9 mg. In certain instances, the enalapril oral
  erated doses (MTD ) and maximum response doses (MRD ) liquid formulations described herein are provided in a dose
  for enalapril and/ or enalaprilat can be determined via estab - 30 per day of about 10 mg. In certain instances, the enalapril
   lished animal and human experimental protocols as well as           oral liquid formulations described herein are provided in a
  in the examples described herein . For example , toxicity and        dose per day of about 11 mg. In certain instances , the
  therapeutic efficacy of enalapril and/or enalaprilat can be          enalapril oral liquid formulations described herein are pro
  determined by standard pharmaceutical procedures in cell             vided in a dose per day of about 12 mg. The dose per day
   cultures or experimental animals , including, but not limited 35 described herein can be given once per day or multiple times
   to , for determining the LD 50 (the dose lethal to 50 % of the      per day in the form of sub -doses given b .i.d ., t.i.d ., q.i.d ., or
  population ) and the ED50 (the dose therapeutically effective        the like where the number of sub -doses equal the dose per
  in 50 % of the population ). The dose ratio between the toxic        day .
  and therapeutic effects is the therapeutic index and it can be          In further embodiments, the daily dosages appropriate for
  expressed as the ratio between LD so and ED50 . Enalapril 40 the enalapril oral liquid formulations described herein are
  dosages exhibiting high therapeutic indices are of interest. from about 0 .01 to about 1 .0 mg/kg per body weight. In one
  The data obtained from cell culture assays and animal embodiment, the daily dosages appropriate for the enalapril
   studies can be used in formulating a range of dosage for use        oral liquid formulations are from about 0 .02 to about 0 .8
   in human . The dosage of such compounds lies preferably             mg/kg enalapril per body weight. In another embodiment,
  within a range of circulating concentrations that include the 45 the daily dosage appropriate for the enalapril oral liquid
  EDs, with minimal toxicity . The dosage may vary within              formulations are from about 0 . 05 to about 0 .6 mg/kg per
  this range depending upon the dosage form employed and               body weight. In another embodiment, the daily dosage
  the route of administration utilized . Additional relative dos       appropriate for the enalapril oral liquid formulations is about
  ages , represented as a percent of maximal response or of            0 .05 mg/kg, about 0 . 06 mg/kg, about 0 . 07 mg/kg, about 0 . 08
  maximum tolerated dose , are readily obtained via the pro - 50       mg/kg, about 0 . 10 mg/kg, about 0 . 15 mg/kg, about 0 . 20
   tocols .                                                            mg/kg, about 0 . 25 mg/kg , about 0 . 30 mg/kg, about 0 .40
     In some embodiments , the amount of a given enalapril             mg/kg , about 0 .50 mg/kg , or about 0.60 mg/kg.
  oral liquid formulation that corresponds to such an amount              In other embodiments the enalapril oral liquid formula
  varies depending upon factors such as the particular enal-           tions are provided at themaximum tolerated dose (MTD ) for
  april salt or form , disease condition and its severity , the 55 enalapril and / or enalaprilat. In other embodiments , the
  identity (e . g ., weight, sex ) of the subject or host in need of   amount of the enalapril oral liquid formulations adminis
  treatment, but can nevertheless be determined according to           tered is from about 10 % to about 90 % of the maximum
  the particular circumstances surrounding the case , including,       tolerated dose (MTD ), from about 25 % to about 75 % of the
  e . g ., the specific agent being administered , the liquid com -    MTD , or about50 % of theMTD . In particular embodiments ,
  position type, the condition being treated , and the subject or 60 the amount of the enalapril oral liquid formulations admin
  host being treated .                                                 istered is from about 5 % , 10 % , 15 % , 20 % , 25 % , 30 % , 35 % ,
     In some embodiments , the enalapril oral liquid formula -         40 % , 45 % , 50 % , 55 % , 60 % , 65 % , 70 % , 75 % , 80 % , 85 % ,
  tions described herein are provided in a dose per day from           90 % , 95 % , 99 % , or higher, or any range derivable therein ,
  about 0 .01mg to 100 mg, from about 0 . 1 mg to about 80 mg,    of the MTD for enalapril and/ or enalaprilat.
  from about 1 to about 60 , from about 2 mg to about 40 mg 65 In further embodiments , the enalapril oral liquid formu
  of enalapril. In certain embodiments, the enalapril oral liquid lations are provided in a dosage that is similar , comparable
   formulations described herein are provided in a daily dose of       or equivalent to a dosage of a known enalapril tablet
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 20 of 27 PageID: 235


                                                          US 10, 154 , 987 B2
                                  27                                                                         28
   formulation . In other embodiments, the enalapril oral liquid             a subject. In some other embodiments , enalapril oral liquid
  formulations are provided in a dosage that provides a                      formulations described herein are administered intermit
  similar, comparable or equivalent pharmacokinetic param -                  tently ( e . g . drug holiday that includes a period of time in
  eters (e .g ., AUC , Cmor, Tmor, Cmin , T , ) as a dosage of a
                                       min ?                                 which the formulation is not administered or is administered
  known enalapril tablet formulation . Similar, comparable or 5 in a reduced amount ).
  equivalent pharmacokinetic parameters , in some instances ,                   In some embodiments an enalapril oral liquid formulation
  refer to within 80 % to 125 % , 80 % to 120 % , 85 % to 125 % ,            is administered to a subject who is in a fasted state. A fasted
   90 % to 110 % , or increments therein , of the given values . It          state refers to a subject who has gone without food or fasted
   should be recognized that the ranges can , but need not be                for a certain period of time. General fasting periods include
  symmetrical, e.g ., 85 % to 105 % .                                     10 at least 4 hours , at least 6 hours , at least 8 hours , at least 10
  Administration                                                             hours , at least 12 hours , at least 14 hours and at least 16
    Administration of an enalapril oral liquid formulation is at             hours without food . In some embodiments , an enalapril oral
  a dosage described herein or at other dose levels and                      liquid formulation is administered orally to a subject who is
  formulations determined and contemplated by a medical                      in a fasted state for at least 8 hours . In other embodiments ,
  practitioner. In certain embodiments , the enalapril oral liquid 15 an enalapril oral liquid formulation is administered to a
   formulations described herein are administered for prophy -               subject who is in a fasted state for at least 10 hours. In yet
  lactic and/ or therapeutic treatments . In certain therapeutic             other embodiments, an enalapril oral liquid formulation is
  applications , the enalapril oral liquid formulations are                  administered to a subject who is in a fasted state for at least
  administered to a patient already suffering from a disease ,               12 hours . In other embodiments, an enalapril oral liquid
  e.g ., hypertension , in an amount sufficient to cure the disease 20 formulation is administered to a subject who has fasted
  or at least partially arrest or ameliorate the symptoms, e. g .,     overnight.
  lower blood pressure. Amounts effective for this use depend            In other embodiments an enalapril oral liquid formulation
  on the severity of the disease , previous therapy , the patient's is administered to a subject who is in a fed state . A fed state
  health status, weight, and response to the enalapril formu-                refers to a subject who has taken food or has had a meal. In
  lations, and the judgment of the treating physician . Thera - 25 certain embodiments , an enalapril oral liquid formulation is
  peutically effective amounts are optionally determined by                  administered to a subject in a fed state 5 minutes post -meal,
  methods including, but not limited to , a dose escalation                  10 minutes post-meal, 15 minutes post-meal, 20 minutes
  clinical trial.                                                            post-meal, 30 minutes post-meal, 40 minutes post-meal, 50
     In prophylactic applications, the enalapril oral liquid                 minutes post -meal, 1 hour post-meal, or 2 hours post -meal.
  formulations described herein are administered to a patient 30 In certain instances, an enalapril oral liquid formulation is
  susceptible to or otherwise at risk of a particular disease ,              administered to a subject in a fed state 30 minutes post -meal.
   e . g ., hypertension . Such an amount is defined to be a                 In other instances, an enalapril oral liquid formulation is
  “ prophylactically effective amount or dose .” In this use , the           administered to a subject in a fed state 1 hour post -meal. In
  precise amounts also depend on the patient's state of health ,             yet further embodiments, an enalapril oral liquid formula
  weight, and the like . When used in a patient, effective 35 tion is administered to a subject with food .
  amounts for this use will depend on the risk or susceptibility In further embodiments described herein , an enalapril oral
  of developing the particular disease, previous therapy, the                liquid formulation is administered at a certain time of day for
  patient' s health status and response to the enalapril formu -             the entire administration period . For example , an enalapril
   lations, and the judgment of the treating physician .                     oral liquid formulation can be administered at a certain time
     In certain embodiments wherein the patient' s condition 40 in the morning, in the evening , or prior to bed . In certain
  does not improve , upon the doctor 's discretion the admin -               instances , an enalapril oral liquid formulation is adminis
  istration of an enalapril oral liquid formulations described               tered in the morning . In other embodiments, an enalapril oral
  herein are administered chronically , that is , for an extended            liquid formulation can be administered at different times of
  period of time, including throughout the duration of the                   the day for the entire administration period . For example , an
  patient' s life in order to ameliorate or otherwise control or 45 enalapril oral liquid formulation can be administered on 8 : 00
  limit the symptomsof the patient's disease . In other embodi-     am in the morning for the first day , 12 pm noon for the next
  ments, administration of an enalapril oral liquid formulation     day or administration , 4 pm in the afternoon for the third day
  continues until complete or partial response of a disease .                or administration , and so on .
    In certain embodiments wherein a patient's status does     Further Combinations
  improve , the dose of an enalapril oral liquid formulation 50 The treatment of certain diseases or conditions (e . g .,
  being administered may be temporarily reduced or tempo - hypertension , heart failure , myocardial infarction and the
   rarily suspended for a certain length of time (i.e., a “ drug             like ) in a subject with an enalapril oral liquid formulation
  holiday ” ) . In specific embodiments , the length of the drug             described herein encompass additional therapies and treat
  holiday is between 2 days and 1 year, including by way of ment regimens with other agents in some embodiments.
  example only , 2 days , 3 days, 4 days , 5 days , 6 days , 7 days , 55 Such additional therapies and treatment regimens can
  10 days , 12 days , 15 days, 20 days, 28 days , 35 days, 50            include another therapy, e .g ., additional anti-hypertensives ,
  days , 70 days, 100 days , 120 days , 150 days , 180 days , 200            for treatment of the particular disease or condition in some
  days, 250 days, 280 days, 300 days, 320 days , 350 days , and              embodiments. Alternatively , in other embodiments, addi
   365 days . The dose reduction during a drug holiday is , by               tional therapies and treatment regimens include other agents
  way of example only , by 10 % - 100 % , including by way of 60 used to treat adjunct conditions associated with the disease
  example only 10 % , 15 % , 20 % , 25 % , 30 % , 35 % , 40 % , 45 % ,       or condition or a side effect from the enalapril oral liquid
  50 % , 55 % , 60 % , 65 % , 70 % , 75 % , 80 % , 85 % , 90 % , 95 % ,      formulation in the therapy .
  and 100 % .                                                                   Additional agents for use in combination with an enalapril
     In some embodiments, enalapril oral liquid formulations                 oral liquid formulation described herein include , but are not
  described herein are administered chronically . For example , 65 limited to , diuretics ( loop , thiazide , potassium -sparing, and
  in some embodiments , an enalapril oral liquid formulation is    the like ), beta blockers (metoprolol, propanolol, pronethalol,
  administered as a continuous dose, i.e., administered daily to and the like), alpha blockers (phentolamine, phenoxyben
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 21 of 27 PageID: 236


                                                       US 10 , 154,987 B2
                                 29                                                                        30
  zamine , tamsulosin , prazosin , and the like ), mixed alpha and         “ patient,” “ subject” and “ individual” are intended to include
  beta blockers (bucindolol, carvedilol, labetalol), calcium               living organisms in which certain conditions as described
   channel blockers (dihydropyridines such as nifedipine ,                 herein can occur. Examples include humans, monkeys ,
   amlodipine, etc., dilitazem , verapamil and the like ), angio           Cows, sheep , goats, dogs , cats, mice, rats , and transgenic
  tensin II receptor antagonists ( saralasin , Isartan , eprosartin , 5 species thereof. In a preferred embodiment, the patient is a
   irbesartan , valsartan , and the like), other ACE inhibitors            primate . In certain embodiments , the primate or subject is a
   (captopril, quinapril, ramipril, lisinopril, zofenopril, and the        human . In certain instances , the human is an adult. In certain
  like ), aldosterone antagonists (eplerenone, spironolactone              instances , the human is child . In further instances, the human
  and the like ), vasodilators (hydralazine and the like ) and     is 12 years of age or younger. In certain instances , the human
  alpha - 2 agonists ( clonidine,moxonidine , guanabenz and the 10 is elderly . In other instances, the human is 60 years of age
  like ).                                                                  or older. Other examples of subjects include experimental
   Certain Definitions                                                     animals such as mice , rats , dogs, cats , goats , sheep , pigs, and
     Unless defined otherwise, all technical and scientific                cows. The experimental animal can be an animal model for
  terms used herein have the same meanings as commonly                     a disorder, e . g ., a transgenic mouse with hypertensive
  understood by one of ordinary skill in the art. Although any 15 pathology . A patient can be a human suffering from hyper
  methods and materials similar or equivalent to those                     tension , or its variants or etiological forms.
  described herein can be used in the practice or testing of          By " pharmaceutically acceptable " , it is meant the carrier,
  embodiments described herein , certain preferred methods ,        diluent or excipient must be compatible with the other
  devices, and materials are now described .                        ingredients of the formulation and not deleterious to the
     As used herein and in the appended claims, the singular 20 recipient thereof.
  forms “ a ” , “ an ” , and “ the” include plural reference unless    The term “pharmaceutical composition ” shall mean a
   the context clearly dictates otherwise . Thus, for example ,            composition comprising at least one active ingredient,
  reference to " an excipient" is a reference to one or more               whereby the composition is amenable to investigation for a
  excipients and equivalents thereofknown to those skilled in              specified , efficacious outcome in a mammal (for example ,
  the art , and so forth .                                            25 without limitation , a human ) . Those of ordinary skill in the
     The term “ about” is used to indicate that a value includes           art will understand and appreciate the techniques appropriate
  the standard level of error for the device or method being               for determining whether an active ingredient has a desired
   employed to determine the value. The use of the term “ or ”             efficacious outcome based upon the needs of the artisan .
  in the claims is used to mean " and /or” unless explicitly                  A “ therapeutically effective amount” or “ effective
   indicated to refer to alternatives only or the alternatives are 30 amount” as used herein refers to the amount of active
  mutually exclusive , although the disclosure supports a defi -           compound or pharmaceutical agent that elicits a biological
  nition that refers to only alternatives and to " and /or." The           ormedicinal response in a tissue , system , animal, individual
  terms " comprise ," " have” and “ include” are open - ended              or human that is being sought by a researcher, veterinarian ,
  linking verbs. Any forms or tenses of one or more of these               medical doctor or other clinician , which includes one or
  verbs, such as " comprises," " comprising," " has, " " having,”     35   more of the following: ( 1 ) preventing the disease ; for
  " includes ” and “ including,” are also open -ended . For                example , preventing a disease, condition or disorder in an
   example , any method that “ comprises," " has ” or “ includes ”         individual that may be predisposed to the disease , condition
  one or more steps is not limited to possessing only those one            or disorder but does not yet experience or display the
  or more steps and also covers other unlisted steps.                      pathology or symptomatology of the disease , ( 2 ) inhibiting
     " Optional” or “ optionally ” may be taken to mean that the 40 the disease ; for example , inhibiting a disease , condition or
  subsequently described structure , event or circumstance may      disorder in an individual that is experiencing or displaying
  or may not occur, and that the description includes instances the pathology or symptomatology of the disease , condition
  where the events occurs and instances where it does not.          or disorder ( i. e ., arresting further development of the pathol
     As used herein , the term “ therapeutic” means an agent               ogy and /or symptomatology ), and (3 ) ameliorating the dis
  utilized to treat, combat, ameliorate , prevent or improve an 45 ease ; for example , ameliorating a disease , condition or
  unwanted condition or disease of a patient. In some embodi-              disorder in an individual that is experiencing or displaying
  ments, a therapeutic agent such as enalapril is directed to the          the pathology or symptomatology of the disease , condition
  treatment and /or the amelioration of, reversal of, or stabili-          or disorder ( i. e ., reversing the pathology and / or symptoma
  zation of the symptoms of hypertension described herein .                tology ) . As such , a non - limiting example of a “ therapeuti
     “ Administering " when used in conjunction with a thera - 50          cally effective amount" or " effective amount" of a formu
  peutic means to administer a therapeutic systemically or                 lation of the present disclosure may be used to inhibit, block ,
  locally , as directly into or onto a target tissue, or to admin -        or reverse the activation , migration , or proliferation of cells
  ister a therapeutic to a patient whereby the therapeutic                 or to effectively treat hypertension or ameliorate the symp
  positively impacts the tissue to which it is targeted . Thus, as toms of hypertension.
  used herein , the term “ administering” , when used in con - 55 The terms" treat,” “ treated ,” “ treatment,” or “ treating ” as
  junction with an enalapril formulation , can include , but is    used herein refers to both therapeutic treatment in some
  not limited to , providing an enalapril formulation into or embodiments and prophylactic or preventative measures in
  onto the target tissue ; providing an enalapril formulation              other embodiments , wherein the object is to prevent or slow
  systemically to a patient by, e . g ., oral administration               (lessen ) an undesired physiological condition , disorder or
  whereby the therapeutic reaches the target tissue or cells . 60 disease , or to obtain beneficial or desired clinical results . For
  “ Administering” a formulation may be accomplished by                    the purposes described herein , beneficial or desired clinical
  injection , topical administration , and oral administration or          results include , but are not limited to , alleviation of symp
  by other methods alone or in combination with other known toms; diminishment of the extent of the condition , disorder
  techniques.                                                  or disease ; stabilization (i. e ., not worsening ) of the state of
     The term “ animal” as used herein includes, but is not 65 the condition , disorder or disease ; delay in onset or slowing
  limited to , humans and non -human vertebrates such as wild ,            of the progression of the condition , disorder or disease ;
  domestic and farm animals. As used herein , the terms                    amelioration of the condition , disorder or disease state ; and
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 22 of 27 PageID: 237


                                                                                        US 10 , 154 , 987 B2
                                               31                                                                                                                32
  remission (whether partial or total), whether detectable or                                                                                    TABLE A - 2 - continued
  undetectable , or enhancement or improvement of the con
  dition , disorder or disease . Treatment includes eliciting a                                                                 Primary Degradants Present in the Formulations
   clinically significant response without excessive levels of                                                                                ( % w / w of enalapril maleate )
  side effects . Treatment also includes prolonging survival as 5                                                    Hours at                                        Formulation
  compared to expected survival if not receiving treatment. A
   prophylactic benefit of treatment includes prevention of a                                                        60° C .        A1                A2             A3            A4             A5                     A6
  condition, retarding the progress of a condition , stabilization                                                                                            Enalaprilat
  of a condition , or decreasing the likelihood of occurrence of
  a condition . As used herein , “ treat,” “ treated,” “ treatment,” 10                                                            0 .09              0 .15          0 .29         0 . 14         0 . 16                 0 .12
  or “ treating” includes prophylaxis in some embodiments .                                                             97
                                                                                                                       180
                                                                                                                                   5 . 20
                                                                                                                                   9 .94
                                                                                                                                                    16 . 9
                                                                                                                                                    34 . 8
                                                                                                                                                                   47 . 4
                                                                                                                                                                  113
                                                                                                                                                                                  16 . 1
                                                                                                                                                                                  33 . 5
                                                                                                                                                                                                20 . 3
                                                                                                                                                                                                42 . 2
                                                                                                                                                                                                                    15 . 6
                                                                                                                                                                                                                    31. 7
                                        EXAMPLES
                                          Example A                                                                                                      Example B
            Effect of pH on the Formation of Degradants in
                      Enalapril Formulations at 60° C .                                                               Effect of Buffer Concentration on the Formation of
                                                                                                                        Degradants in Enalapril Formulations at 60° C .
       Formulations were prepared containing enalapril maleate
  according to Table A -1 . The pH of each solution was                                                              Formulations were prepared containing enalapril maleate
  recorded . Five milliliters of each formulation were trans                                                    according to Table B - 1 . The pH of each solution was
  ferred to each of four 3 -dram glass screw - capped vials with
                                                               measured and adjusted as needed to pH 3 .3 with ~ 1N HCl
   Teflon inserts in the caps. The vials were placed into a 60°or - 0 . 5N NaOH . Five milliliters of each formulation were
  C . heating chamber then one vial removed and analyzed by 25 transferred to each of six 3 -dram glass screw -capped vials
  HPLC at times of zero , - 97 and ~ 180 hours.                with Teflon inserts in the caps. The vials were placed into a
                                                               60° C . heating chamber then two vials were removed and
                          TABLE A - 1                          analyzed by HPLC at times of zero, ~ 66 and ~ 139 hours .
                  Formulation  (in mg/mL) of Enalapril Formulations                                                                                      TABLE B -1
                    at Varying pH and Citrate Buffer Concentration                                _        30
                                                    Formulation (mM citrate )                                           Formulation ( in mg/mL ) of Enalapril Maleate Formulations at
                                                                                                                                     Varying Citrate Buffer Concentrations
                                       A1        A2         A3              A4           A5 A6
  Component                           (50 )     (50 )      (50 )           (50 )        (50 ) (25 )                                                                               Formulation
  Enalapril maleate                    1.0       1.0       1.0              1.0            1.0 1.0         35                                                   B1 (5 mM B2 ( 10 mM B3 (20 mM
  Mannitol                           50        50         50                            50        6 .0        Component                                           citrate )         citrate )               citrate )
  Xylitol                                                                  50
   Citric acid ,                       7.35 5.05 2.55 5.05 5.05 2.76                                          Enalapril maleate                                     1 .0               1. 0                       1. 0
  anhydrous                                                                                                   Citric acid , anhydrous                               0 .82              1 .65                  3 .29
  Sodium citrate ,                     3.45 7.0 10.8                        7.0            7.0 3. 15          Sodium citrate , anhydrous                            0 . 19            0 .38                   0 .75
  dihydrate                                                                                                40 Sodium benzoate                                       1.0               1.0                     1.0
  Sodium benzoate                                1          1               1              1                    Sucralose                                           0 .7              0. 7                    0 .7
  Methylparaben sodium                                                                     1 .75 0 . 335        Mixed berry flavor (powdered )                      0 .5              0 .5                    0.5
  Propylparaben sodium                                                                            0 .095        Water                                                qs                qs                          qs
  Potassium sorbate                                                                                             pH                                                  3. 3              3. 3                    3.3
  Sucralose                            0.75     0.75       0.75             0.75 0 .75 00..075
                                                                                           75              45 qs = sufficient quantity
  Silicon dioxide
  Mixed berry flavor
  (powdered )
                                       0.5 0.5 0.5 0.5 0.5 0.5                                                       The results of the HPLC analysis for the two main
  Water                                 as       98         qs              qs             9s         qs        degradants in the samples, enalapril diketopiperazine and
  PH                                   3 .4     4.4        5 .2            4 .4          4 .5    4 .4 .
                                                                                                                enalaprilat, are provided in Table B -2 .
  qs = sufficient quantity                                                                                 50
                                                                                                                                                         TABLE B - 2
     The results of the HPLC analysis for the two main
  degradants in the samples , enalapril diketopiperazine and                                                                    Primary Degradants Present in the Formulations
   enalaprilat, are provided in Table A - 2.                                                                                                      % w /w of enalaprilmaleate )
                                                                                                           55      Hours                            Formulation
                            TABLE A - 2
                                                                                                                  at 60° C . B1 (5 mM citrate ) B2 (10 mM citrate ) B3 (20 mM citrate )
                   Primary Degradants Present in the Formulations                                                                     Enalapril Diketopiperazine
                                 ( % w / w of enalapril maleate )

       Hours at                                      Formulation                                 -                                       0 .01                         0 .01                             0 .01
                                                                                                           60          66                1 .57                             1.63                          1 . 79
       60° C .          A1            A2             A3            A4              A5             A6                  139                3 .70                         3 .94                             4 .24
                                                                                                                                                              Enalaprilat
                                  Enalapril Diketopiperazine
                                                                                                                                         0 .00                         0 .00                             0 .00
            0          0 .04         0 .03       0 .03            0 .03            0.03          0 .03     G
                                                                                                                       66                2 . 98                        2 . 88                            3 . 19
           97           3 . 10       0 .88       0 . 33           0 . 86           0 .70         0 .53                139                5 .28                         5 . 23                            5 .69
          180          6 . 21        1 .77       0 .75            1 .73            1 .43         1 .07
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 23 of 27 PageID: 238


                                                                               US 10 , 154 ,987 B2
                                              33                                                                                                   34
                                    Example C                                                                                               TABLE C -2
                                                                                                            Degradant Content After Storage ( % w / w of enalapril maleate )
              Stability of Enalapril Maleate Formulations                                                                       Storage
                                                                                                                              Storage                                     Formulation
                     Containing Paraben Preservatives
                                                                                                                      °C. Weeks                     c1           C2               C3            C4          C5
      Powder formulations were prepared according to Table                                                                             Liquid Formulations
   C - 1. All components in each formulation exceptmannitol or
   xylitol were added to a 2 . 5 liter polypropylene screw capped                                    Diketo                                    0 .03 0 .04                        0 .04        0 .02        0 .02
                                                                                                        erazine                                     0 .02        0 . 03           0 .03         0 .03       0 .02
  bottle . The bottle was mixed by inversion in a Turbula® 10 P                                                                                     0 .03        0 .04            0 .04




                                                                                                                                       to
  mixer for 5 minutes . The mannitol or xylitolwas then added                                                         19 - 23                       0 .03        0 .04            0 .04         0 .02       0 .02
  and the components mixed for 5 minutes, then the other half                                                                                       0 .05
                                                                                                                                                    0 .08
                                                                                                                                                                 0 .09
                                                                                                                                                                 0 . 17
                                                                                                                                                                                  0 . 11
                                                                                                                                                                                  0 .19
                                                                                                                                                                                                0 .05       0 .04
  of the mannitol or xylitol was added and a final mix of 5                                                             40                          0 .03        0 .04            0 .04        0 .02        0 .02
  minutes was completed .                                                                       15                                                  0 . 35       0 .91             1. 10       0 .31        0 .21
                                                                                                                                                    0 .65        1 . 80           2 .05
  One liter of solution formulation was prepared for each                                            Enalaprilat                                    0 . 18       0 .14            0 . 12        0 . 13      0 . 19
   formulation by adding an appropriate amount of each pow                                                                                          0 . 18       0 . 15           0 .12         0 .43       0 .53
  dered formulation to a 1 liter volumetric flask and adding                                                                                        0 .55        0 .38            0 .34
  about 500 mL water. The powder was dissolved with mixing                                                            19 - 23                       0 . 18       0 . 14           0 . 12        0 . 13      0 . 19
                                                                                                                                                    1. 35        0 .83            0 . 80        1.75        2 .29
  then the contents of the flask were brought to 1 liter with 20                                                                                    3 . 34       2 . 06           1 .98
  additional water. The amount of powder to add was deter                                                               40                          0 . 18       0 . 14           0 .12         0 .13       0 . 19
  mined such that the final concentration of enalapril maleate                                                                                     10 .496 .08                    6 .11 12 .30             16 .14
                                                                                                                                                   24. 37       14 .12       14 . 22
  was 1.0 mg/mL . Fifty milliliter aliquots of each formulation
  were placed into HDPE bottles. The bottles were screw
  capped and placed into storage at 5° C . 13° C ., at room 25
  temperature ( 19 - 23° C .) and at 40° C . - 2° C . At various                                                                            Example D
  times, bottles were removed from the storage condition and
  analyzed .
                                                                                                                 Stability of Enalapril Maleate Formulations
                                    TABLE C -1                                                  30                     Containing Benzoate Preservative
                   Composition of Enalapril Maleate Formulations                                        Powder formulations were prepared according to Table
   Component                                                                          05             D - 1 . All components in each formulation except enalapril
                                    ci             02          03         04                         maleate and mannitol or xylitol were blended with a mortar
                             Powder Formulation             ms )                            35 and pestle . The enalapril maleate was then triturated with the
  Enalapril maleate                12 .3       12 . 3          8 .86      2. 16       2 .16
                                                                                               blend . The xylitol or mannitol was then triturated into the
  Mannitol                        74 .4        74 . 4       394 . 0                            blend using a geometric dilution technique .
  Xylitol                                                               965 ..406   935 ..407        One liter of solution formulation was prepared for each
   Citric acid , anhydrous        28 . 6       35 . 6        28 . 4                                  formulation by adding an appropriate amount of each pow
  Sodium citrate ,                24 . 5       14 . 7          7 .73      4 . 10      4 . 10
  anhydrous                                                                                          dered formulation to a 1 liter volumetric flask and adding
  Sodium methylparaben              4 . 17         4 .17       8 .86      2 . 16      2 . 16         about 500 mL water. The powder was dissolved with mixing
   Sodium propylparaben            1 .10           1 . 10                                            then the contents of the flask were brought to 1 liter with
  Potassium sorbate               12 . 3       12. 3                                                 additional water. The amount of powder to add was deter
  Sodium benzoate                                              8 . 86     2 . 16      2 . 16
                                                                                                     mined such that the final concentration of enalapril maleate
  Xanthan Gum                                                                         1 .62
  Colloidal silicon dioxide         0 . 859        0 .859      4 .43                  1.08           was 1.0 mg/mL . Fifty milliliter aliquots of each formulation
  Sucralose                         9 . 20         9 .20       6 .64      1 .62       1 .62          were placed into HDPE bottles . The bottles were screw
  Mixed berry flavor                6 .13          6 . 13      4 .43      1 .08       1 .08          capped and placed into storage at 5° C . +3° C ., at room
   Total solids                  173.5         170.7        472.3       115.2       115.2            temperature (19 -23° C .) and at 40° C . - 2° C . At various
                             Liquid Formulations (mg/mL )                                       50
                                                                                                     times , bottles were removed from the storage condition and
                                                                                                     analyzed .
  Enalapril maleate                 1.00           1.00        1.00        1.00       1.00
  Mannitol                          6 .07          6 .07     44 . 5
  Xylitol                                                               44 . 7      43 . 4                                                  TABLE D - 1
   Citric acid , anhydrous          2 . 33         2 . 90      3 .21     2 . 50      2 .50
  Sodium citrate ,                  2 . 00         1 .20       0 .87      1 . 90     1 . 90                          Composition of Enalapril Maleate Formulations
  anhydrous                                                                                     55
  Sodium methylparaben              0 . 34         0 .34       1 . 00     1 .00       1 ,00          Component               D1      D2       D3        D4                                   D5           D6
  Sodium propylparaben              0 .09          0 .09       1 .00
  Potassium sorbate                 1 .00          1 .00                                                                       Powder Formulation ( grams)
  Sodium benzoate                                              1 .00      1 .00        1. 00
                                                                                                     Enalapril               3.63 3.63 3.63 3.63                                              8.86        2. 16
  Xanthan Gum                                                                         0 .75
                                                                                                     maleate
  Colloidal silicon dioxide         0 .07          0 .07       0 . 50                 0 .50 60 Xylitol                   537 .2           176 .1                      537 .2
  Sucralose                         0 .75          0 .75       0 .75      0 . 75      0 .75
  Mixed berry flavor                0 .50          0 .50       0 .50      0 .50       0 . 50         Mannitol                                          319 .4                              401. 2        98. 9
  pH (measured )                    4 .4           3. 8        3 .7       4.4         4.6            Citric acid ,
                                                                                                     anhydrous
                                                                                                                             11.9
                                                                                                                             11. 9          11.9         11.9             10 .4             26.6          6.48
                                                                                                     Sodium citrate, 2.72 2.72 2.72 4.86 11.3 2.76
                                                                                                     anhydrous
       The results of the HPLC analysis for the diketopiperazine 65 Sodium                                                      3.63        3.63 3. 63 3.63                                   8.86 2.16
  and enalaprilat degradants in the samples are provided in                                          benzoate
   Table C - 2 .
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 24 of 27 PageID: 239


                                                                                                US 10 , 154 , 987 B2
                                                        35                                                                                                                       36
                                  TABLE D - 1 -continued                                                                                                 TABLE D - 2 -continued
                   Composition of Enalapril Maleate Formulations                                                                   Degradant Content After Storage ( % w / w of enalapril maleate )

   Component                 D1               D2               D3           D4               D5              D6                                       Storage                                            Formulation
  Rebalance X60                              10 .9                                                                                            OC. Weeks D1 D2                                              D3            D4    D5       D6
   ( sucralose
  and                                                                                                                                         19 - 23           0             0.03 0 .02 0 .03 0.03 0 .13 0 . 14
  maltodextrin )                                                                                                                                                              0 .69 0 .66 0 .69 0 .86                          0 .74 0 . 76
  Sucralose
  Saccharin                                                     7 . 26
                                                                                             6.64 1.62       1 .62
                                                                                                                      10
                                                                                                                                                                               1.38 1.33 1.41 1 .68
                                                                                                                                                                              1.71 1 .68 1 .73 2 . 15
                                                                                                                                                                                                                               1 .83 1 .82
  sodium                                                                                                                                                                      3 .63 3 .61 3 .59 4 .55
  Colloidal                                                                                  4 .43                                              40                            0.03 0 .02 0 .03 0.03 0 . 13 0 . 14
  silicon                                                                                                                                                                     4 .76          4 . 42 4 .76 6 .45 5 .55 5 .24
  dioxide                                                                                                                                                       8             8. 95          8 .64 9 .61 12 .94 12 .73 12 . 18
  Mixed berry                  1.82           1.82              1.82         1.82            4.43            1.08                                                            11.01 10 .64 11 .41 16 . 16
   flavor                                                                                                                                                   26               17 . 18 17 . 11 18 . 30 27 . 36
   Total solids         561                 211               350         561           472.3              115 .2
                                  Liquid Formulations (mg/mL )
  Enalapril                    1.00           1.00              1.00         1.00            1.00             1.00                                                       Example E
  maleate
  Xylitol               148 . 0             48. 5                         148 .0                                      20             Stability of Solution Formulations of Enalapril
  Mannitol                                                    88. 0                       45 . 3           45 . 8
  Citric acid ,                3. 29          3 . 29            3 . 29       2 .85           3.00            3.00                                                            Maleate
  anhydrous
  Sodium citrate ,
  anhydrous
                               0 . 75         0 . 75           0 . 75        1 .34           1 .28           1 .28             Solution formulations were prepared according to Table
  Sodium                       1 .00          1 .00             1. 00        1.00            1.00             1. 00   2525. E -1 . Thirty milliliter aliquots of each formulation were
  benzoate                                                                                                                  placed into HDPE bottles . The bottles were screw -capped
  Rebalance X60                               3 .00                                                                         and placed into storage at 5° C . - 3° C ., at room temperature
  ( sucralose
  and
                                                                                                                            (19- 23° C .) and at 40° C .+ 2° C . At various times , bottles
  maltodextrin )                                                                                                           were removed from the storage condition and analyzed .
  Sucralose                                                                                  0 .75           0 .75 30
  Saccharin                                                    2 . 00
  sodium                                                                                                                              Composition of EnalaprilMaleate Formulations (mg/mL )
  Colloidal                                                                                  0 . 50
  silicon                                                                                                                  Component                                E1                E2 E3                         E4     E5 E6
  dioxide
  Mixed berry                0 .50            0 .50             0.50         0 .50           0 .50           0 .50 35 Enalapril maleate                             1.00              1.00 1.00                      1.00 1.00 1.00
   flavor                                                                                                                  Xylitol                          150                 200                                150
  pH (measured )               3.2            3.2               3.4          3.7             3.6             3.6           Citric acid anhydrous                    3.29              3.29 3.29                      3.291 .65 0.82
                                                                                                                           Sodium citrate                           0 .75             0 .75           0 .75          0 .75    0 . 38   0 . 19
                                                                                                                           anhydrous
        The results of the HPLC analysis for the diketopiperazine                                                          Sodium benzoate
                                                                                                                           Sucralose
                                                                                                                                                                    1 .00             1 .00           1 .00
                                                                                                                                                                                                      0 . 70
                                                                                                                                                                                                                     1 .00    1 . 00
                                                                                                                                                                                                                              0 . 70
                                                                                                                                                                                                                                        1 . 00
                                                                                                                                                                                                                                       0 .70
   and enalaprilat degradants in the samples are provided in 4040                                                          Mixed berry flavor                       0 . 50                            0 . 50         0 .50    0 .50 0 .50
   Table D - 2 .                                                                                                           Water                                    qs                qs                 qs          qs          qS   qs
                                                                                                                           pH (measured )                           3 .3              3 .3            3 .3          3 .4      3 .3 3 .3
                                              TABLE D - 2                                                                  qs = sufficient quantity
            Degradant Content After Storage ( % w /w of enalaprilmaleate )
                                                                                                                    - 45        The results of the HPLC analysis for the diketopiperazine
                            Storage                                       Formulation                                      and enalaprilat degradants in the samples are provided in
                     °C. Weeks                       D1          D2       D3         D4            D5         D6            Table E - 2 .
                                        Liquid Formulations                                                           50 -
                                                                                                                                                          TABLE E -2
  Diketo-               5               0            0.04 0.02 0 .03 0 .03 0.04 0.04                                               Degradant Content After Storage ( % w /w of enalapril maleate)
  piperazine                                         0 .07 0 .03 0 .05 0 .05 0 .03
                                                     0 . 11     0 .06     0 .08 0 .08             0 .05                                               Storage                                            Formulation
                                                     0 . 08 0 .04 0 .06 0 .06
                                                     0 . 11     0 .07     0 .09 0 .07                                                         °C. Weeks E1                                    E2           E3            E4    E5       E6
                     19 - 23                         0 .04 0 .02 0.03 0.03 0 .04 0 .04 55
                                                     0 .27 0 . 21 0 .24 0 . 16 0 . 12 0 . 12 Diketo                                                                          0 .01 0 .01 0 .01 0 .01 0 .01 0 .01
                                                     0. 50 0 .41 0 .47 0 .30 0. 21 0 .22     piperazine                                                                      0 .04 0 . 04 0 .05 0 .04 0 .03 0 .03
                                                     0 .62 0 .52          0 .58 0 .35                                                                                        0 .04 0 .04 0 .04 0 .04 0 .03 0 .03
                                                     1 . 39      1 . 20    1. 33 0 .76                                                                      0
                                                                                                                                                                             0 .05           0 .05 0 .04 0 .05                0 .04    0 .04
                      40                             0 .04 0 .02          0 .03 0 .03 0 .04 0 .04                                                                            0 .07 0 .06 0 .05 0.06 0 .05 0 .05
                                                     2 .87       2 . 32    2 . 73    1 .57        1 . 21     1 . 13                                                                                                           0 . 15   0 . 14
                                                     5 . 13 4 .42 5 .44 2. 97 2 .23 2. 16                             €                                                      0 . 18          0 . 18       0 . 16     0 . 14
                                                   6 .86 5 .90 6 .90 3.91                                                                     19 - 23                        0 .01           0 .01        0 .01      0 .01    0 .01    0 .01
                                                  13.63 12.18 13.56 7 .74                                                                                                    0 .22           0 .23        0 .21      0 .20    0 . 16   0 . 15
  Enalaprilat           5                            0 .03      0 .02     0.03 0.03 0 . 13 0 . 14                                                                            0 . 35          0 .35        0 . 32     0 .31    0 . 29   0 . 28
                                                     0 . 15     0 . 12    0 .06 0 .17 0 . 13                                                                                 0 .58           0 .59        0 . 53     0 .51    0 .48    0 . 45
                                                     0 .22      0 . 19    0 .22 0 .27 0 .34                                                                                  1 . 10          1 . 10       1 .00      0 . 95   0 . 97   0 . 92
                                                     0 . 20     0 . 17    0 . 19 0 .22                                65                                                                                                      2 . 30   2 . 15
                                                     0 .32      0 . 30    0 .30 0 .39                                                                      88                3.02 3.04 2.75 2.64
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 25 of 27 PageID: 240


                                                                                                US 10 , 154 , 987 B2
                                                           37                                                                                                       38
                                 TABLE E - 2- continued                                                                                             TABLE G - 1 -continued
         Degradant Content After Storage ( % w / w of enalapril maleate )                                                                      Formulation and AET Testing Results
                             Storage                                      Formulation                                                                                              Formulation

                   °C. Weeks                           E1       E2         E3              E4    E5        E6                                              G1            G2             G3       G4      G5
                                          0            0 .01 0 .01 0 .01 0.01 0 .01 0 .01                               Sodium benzoate                    1 .00         0 .80         0 .60     0 .40   1.0
                                                       2. 65 2 .71 2 .60 2 .42 1. 76 1 .68                              Mixed berry flavor                 0 . 50        0 .50         0 . 50    0 .50   0 .50
                                                       4 .02 3 .99        3 . 99       3 .62 3 . 37       3 .13         Water                              q .s.          q. s .        q . s.   q .s.   q .s .
                                                       6 .72 6 .42 6 .47 6 .00 5 .53 5 . 29                        10 HCl/NaOH                                           as need to achieve pH
  Enalaprilat           5                              0 . 00 0 .00 0 .01 0 .02 0 . 00                    0 .00         Measured pH                        3.3           3.3            3.3      3.3     3.3
                                                       0 .07    0 .09 0 . 10           0 .11    0 .07    0 .08                                            AET Results
                                                       0 .12    0 . 14 0 . 10          0 .13    0 .09    0 .08
                                                       0 . 16   0 .15 0 . 15           0 .17    0 . 14   0 .11          USP <51>                           Pass          Pass          Pass      Pass    Pass
                                                       0 .31    0 . 30 0 . 29          0 .31    0 . 27   0 .24
                                                                                                0 .54    0 .46          qs = sufficient quantity
                   19 - 23        A@FOAOSOEOAOROo8     0 . 75
                                                       0 .00
                                                       0 .65
                                                                0 .75

                                                                0 .65
                                                                          0 . 74
                                                                0 .00 0 .01 0 .02 0 .00
                                                                          0 .68
                                                                                       0 .71

                                                                                       0 .70    0 .50
                                                                                                          0 .00
                                                                                                         0 .46                                     Example H
                                                       1. 17 1 . 19 1 .20              1 .23 1.03 0 .95
                                                       1.67     1.69       1.72        1 .80 1. 30 1 .21
                                                       3 . 36   3 .38      3.42        3 .57 3.07 2 . 90                        Clinical Trial: Bioavailability Study of 10 mg
                                                                                                6 . 32 5.88 20                    Enalapril Maleate Oral Solution vs. 10 mg
                                                       7. 998 .02         8 .04        8 .57                                  Epaned® Powder for Oral Solution (Reconstituted )
                      40 )                             0 .00 0 .00        0 .01        0 .02    0 .00    0 .00
                                                       4 .85 4 . 93       5. 19        5 .42     3.33     3.25                                     Under Fasted Conditions
                                                       8 .08 8 .06        8 . 56       9 .01    6 .65    6 .35
                                      12              10 .70 10 .48      11.01        11. 97    8 .14    7 .96              The objective of this open -label, randomized , two-period ,
                                                                                                                   25
                                                                                                                        two -treatment, two -way crossover study was to compare the
                                                                                                                        oral bioavailability of a test formulation of 10 mL of
                                                     Example F                                                          enalapril maleate oral solution , 1 mg/mL (formulation E -5 ),
                                                                                                                        to an equivalent oral dose of the commercially available
            Effect of pH on the Formation of Degradants in                                                         30 comparator product, Epaned® ( enalapril maleate ) Powder
             Enalapril Formulations at 5° C . and 19 - 23° C .     for Oral Solution , 1 mg/mL ,when administered under fasted
                                                                                                                        conditions in healthy adults .
     The content of enalapril diketopiperazine and enalaprilat        Study design : Thirty -two healthy adult subjects received
  that were formed after 8 weeks of storage for formulations a single 10mL dose of enalapril maleate oral solution , 1
  C1-C3 and D1-D5 are plotted in FIG . 1 (5º C . - 3° C .) and 35 mg/mL, formulation E - 5 ( Treatment A ), in one period and a
  FIG . 2 ( 19 -23°C . storage ). These formulations all contained separate single dose of Epaned Powder for Oral Solution
  20mM total citrate buffer content, but with varying pH . The (reconstituted with the supplied Ora - Sweet SF ), 1 mg/mL
  general effects of formulation pH on the formation of the                                                              Treatment B ) in another period . Each treatment was admin
  two main enalapril degradants are shown .                                                                             istered after an overnight fast of at least 10 hours, followed
                                                                                                                   40 by a 4 -hour fast postdose . Each treatment was administered
                                                     Example G                                                        via a 10 mL oral dosing syringe and followed with 240 mL
                                                                                                                      of room temperature tap water . Each drug administration
            Antimicrobial Effectiveness Testing of Enalapril                                                            was separated by a washout period of at least 7 days .
                    Maleate Formulations at pH 3 .3                                                                        During each study period , meals were the same and
                                                                                                                   45 scheduled at approximately the same times relative to dose .
     Enalapril formulationswere prepared containing differing                                                           In addition , during each period , blood samples were
  amounts of the antimicrobial preservative, sodium benzoate .                                                          obtained prior to and following each dose at selected times
   The formulations were then tested for antimicrobial effec -                                                          through 72 hours postdose . Pharmacokinetic samples were
  tiveness (AET ) according to the procedures in the 2014                                                               analyzed for enalapril and its metabolite enalaprilat using a
  United States Pharmacopeia 37 , Chapter <51> for category 50                                                          validated analytical method ; appropriate pharmacokinetic
   3 products . The formulation of the formulations and the AET                                                         parameters were calculated for each formulation using non
  results are included in Table G - 1 .                                                                                 compartmental methods . Blood was also drawn and urine
                                                                                                                        collected for clinical laboratory testing at screening and at
                                                     TABLE G - 1                                                        the end of the study.
                         Formulation and AET Testing Results
                                                                                                                          Statistical Methods : The concentration - time data were
                                                                                                                        analyzed using noncompartmental methods in PhoenixTM
                                                                         Formulation                                    WinNonlin® ( Version 6 .3 , Pharsight Corporation ). Concen
                                                                                                                        tration -time data that were below the limit of quantitation
                                                      G1         G2             G3              G4        G5            (BLQ ) were treated as zero in the data summarization and
                                           Formulation (mg/mL)                                                     60 descriptive statistics . In the pharmacokinetic analysis, BLQ
                                                                                                                      concentrations were treated as zero from time-zero up to the
  Enalapril maleate                              1.00      1.00   1.00   1.00 1.00                                      time at which the first quantifiable concentration was
  Xylitol                                     150       150     150    150                                              observed ; embedded and / or terminal BLQ concentrations
  Sucralose                                                                                              0 .70
   Citric acid , anhydrous                            1 .64      1 .64             1 .64        1 .64    1 . 80         were treated as " missing ” . Actual sample times were used
  Sodium citrate , anhydrous                          0 . 322    0. 322            0 .322       0. 322             65 for all pharmacokinetic and statistical analyses . Analysis of
  Sodium citrate , dihydrate                                                                             0 . 165        variance (ANOVA ) and the Schuirmann ' s two one - sided
                                                                                                                        t-test procedures at the 5 % significance levelwere applied to
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 26 of 27 PageID: 241


                                                        US 10 , 154 ,987 B2
                                39                                                                      40
  the log -transformed pharmacokinetic exposure parameters,     8 . The method of claim 1 , wherein the hypertension is
  Cmax, AUCiast, and AUCint. The 90 % confidence interval for primary essential) hypertension .
  the ratio of the geometric means ( Test/Reference ) was       9 . The method of claim 1, wherein the hypertension is
  calculated . Bioequivalence was declared if the lower and   secondary hypertension .
  upper confidence intervals (CIS ) of the log transformed 5 10 . The method of claim 1, wherein the subject has blood
  parameters were within 80 % to 125 % for enalapril and                  pressure values greater than or equal to 140 / 90 mmm Hg.
  enalaprilat.                                                              11 . The method of claim 1 , wherein the subject is elderly
    Results : A total of 32 subjects participated in the study and        or a child .
  29 of these subjects completed both study periods. Based on                12 . The method of claim 1, wherein the stable oral liquid
  the geometric mean ratios of enalapril and enalaprilat AUCs 10 formulation is further administered in combination with an
  ( AUCine and AUC ;nt), the bioavailability of the enalapril    agent selected from the group consisting of diuretics , beta
  maleate oral solution ( formulation E - 5 ) relative to the blockers , alpha blockers , mixed alpha and beta blockers ,
  Epaned Powder for Oral Solution ( reconstituted ) was          calcium channel blockers , angiotensin II receptor antago
  approximately 105 % to 110 % . The geometric mean ratios of nists , ACE inhibitors , aldosterone antagonists, and alpha - 2
  enalapril and enalaprilat Cmor were approximately 115 % and 15 agonists.
   109 % , respectively . The 90 % CI for comparing the maxi-       13 . A method of treating hypertension in a subject com
  mum exposure to enalapril and enalaprilat, based on in prising administering to that subject a therapeutically effec
   (Cmar), was within the accepted 80 % to 125 % limits. The tive amount of a stable oral liquid formulation , the stable
   90 % CIs for comparing total systemic exposure to enalapril oral liquid formulation comprising:
  and enalaprilat, based on In (AUCiast) and In (AUCint), was 20 (i) about 10 % to about 25 % (w /w of solids) enalapril or
  within the accepted 80 % to 125 % limits . Therefore , the test        a pharmaceutically acceptable salt or solvate thereof;
  formulation of enalapril maleate oral solution , 1 mg/mL , is      (ii) a buffer comprising about 17 % to about 47 % ( w /w of
  bioequivalent to the reference product , Epaned Powder for              solids ) citric acid and about 1 % to about 11 % ( w /w of
  Oral Solution ( reconstituted ), 1 mg/mL , under fasted con             solids ) sodium citrate ;
  ditions.                                                        25 (iii) about 3 % to about 25 % (w /w of solids) sodium
     While preferred embodiments of the present invention               benzoate ; and
  have been shown and described herein , it will be obvious to       ( iv ) water ;
   those skilled in the art that such embodiments are provided           wherein the formulation is stable at about 5 + 3° C . for
  by way of example only . Numerous variations, changes, and                    at least 12 months; and
  substitutions will now occur to those skilled in the art 30                 wherein the stable oral liquid formulation has about
  without departing from the invention . It should be under                      95 % w /w or greater of the initial enalapril amount
  stood that various alternatives to the embodiments of the                      and about 5 % w /w or less total impurity or related
  invention described herein may be employed in practicing                       substances at the end of the given storage period .
  the invention . It is intended that the following claims define          14 . Themethod of claim 13 further comprising about 8 %
  the scope of the invention and that methods and structures 35 to about 18 % (w /w of solids) sucralose .
  within the scope of these claims and their equivalents be                15 . The method of claim 13 , wherein the formulation does
  covered thereby.                                                      not contain mannitol or silicon dioxide.
                                                                           16 . The method of claim 13 , wherein the pH of the stable
     What is claimed is:                                                oral liquid formulation is between about 3 and about 3 .5 .
     1. A method of treating hypertension in a subject com - 40 17 . The method of claim 13 , wherein the formulation is
  prising administering to that subject a therapeutically effec - stable at about 5 + 3° C . for at least 24 months.
  tive amount of a stable oral liquid formulation , the stable             18 . A method of treating heart failure in a subject com
  oral liquid formulation comprising:                                   prising administering to that subject a therapeutically effec
     (i) about 0 .6 to about 1.2 mg/ml enalapril or a pharma tive amount of a stable oral liquid formulation , the stable
         ceutically acceptable salt or solvate thereof;              45 oral liquid formulation comprising :
     (ii ) a buffer comprising about 0 . 8 to about 3 .5 mg/mlcitric       (i) about 0 .6 to about 1. 2 mg/ml enalapril or a pharma
        acid and about 0 .1 to about 0 .8 mg/ml sodium citrate ;              ceutically acceptable salt or solvate thereof;
     (iii) about 0 .7 to about 1 .2 mg/ml sodium benzoate ; and             (ii) a buffer comprising about 0 .8 to about 3 . 5 mg/ml citric
     ( iv ) water;                                                              acid and about 0 . 1 to about 0 .8 mg/ml sodium citrate ;
       wherein the formulation is stable at about 5 - 3° C . for 50         (iii) about 0 .7 to about 1. 2 mg/ml sodium benzoate ; and
         at least 12 months ; and                                           (iv ) water ;
       wherein the stable oral liquid formulation has about                   wherein the formulation is stable at about 5 + 3° C . for
         95 % w / w or greater of the initial enalapril amount                  at least 12 months ; and
         and about 5 % w / w or less total impurity or related                wherein the stable oral liquid formulation has about
           substances at the end of the given storage period .       55          95 % w / w or greater of the initial enalapril amount
     2 . Themethod of claim 1 further comprising about 0 .5 to           and about 5 % w /w or less total impurity or related
  about 0 . 9 mg/ml sucralose .                                          substances at the end of the given storage period .
     3 . The method of claim 1 , wherein the formulation does      19 . The method of claim 18 further comprising about 0 .5
  not contain mannitol or silicon dioxide .                     to about 0 . 9 mg/ml sucralose .
     4 . The method of claim 1 , wherein the pH of the stable 60 20 . The method of claim 18 , wherein the formulation does
  oral liquid formulation is between about 3 and about 3 .5 .   not contain mannitol or silicon dioxide.
     5 . The method of claim 1 , wherein the pH of the stable      21 . The method of claim 18 , wherein the pH of the stable
  oral liquid formulation is about 3 . 3 .                      oral liquid formulation is between about 3 and about 3 .5 .
     6 . The method of claim 1 , wherein the formulation is        22 . The method of claim 18 , wherein the pH of the stable
  stable at about 5 - 3° C . for at least 18 months .                65 oral liquid formulation is about 3 . 3 .
      7 . The method of claim 1 , wherein the formulation is                 23 . The method of claim 18 , wherein the formulation is
   stable at about 5 + 3° C . for at least 24 months.                     stable at about 5 + 3° C . for at least 24 months .
Case 3:21-cv-12870-MAS-DEA Document 9-6 Filed 07/14/21 Page 27 of 27 PageID: 242


                                                         US 10 , 154 , 987 B2
                                 41
     24 . The method of claim 18 , wherein the heart failure is
  congestive heart failure .
     25 . A method of treating left ventricular dysfunction in a
  subject comprising administering to that subject a therapeu
   tically effective amount of a stable oral liquid formulation ,
   the stable oral liquid formulation comprising :
      (i) about 0 .6 to about 1. 2 mg/ml enalapril or a pharma
         ceutically acceptable salt or solvate thereof ;
     ( ii ) a buffer comprising about 0 .8 to about 3 . 5 mg/mlcitric
        acid and about 0 . 1 to about 0 .8 mg/ml sodium citrate; 10
     (iii) about 0 .7 to about 1 . 2 mg/ml sodium benzoate ; and
     ( iv ) water;
       wherein the formulation is stable at about 5 + 3° C . for
         at least 12 months ; and
       wherein the stable oral liquid formulation has about 15
          95 % w /w or greater of the initial enalapril amount
           and about 5 % w /w or less total impurity or related
           substances at the end of the given storage period .
     26 . The method of claim 25 further comprising about 0 . 5
   to about 0 .9 mg/ml sucralose .                                      20
     27 . The method of claim 25 , wherein the formulation does
  not contain mannitol or silicon dioxide .
     28 . The method of claim 25 , wherein the pH of the stable
  oral liquid formulation is between about 3 and about 3 .5 .
     29 . The method of claim 25 , wherein the pH of the stable 25
  oral liquid formulation is about 3.3 .
     30 . The method of claim 25 , wherein the formulation is
  stable at about 5 - 3° C . for at least 24 months.
